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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      (MIAMI DIVISION)
                                     www.flsb.uscourts.gov

   In re                                                        CASE NO. 08-19029-BKC-LMI
                                                                CHAPTER 7
   CARDIAC MANAGEMENT SYSTEMS,                                  (Jointly Administered)
   NC., et al.,

           Debtors.
                                                 /

   KENNETH A. WELT, Chapter 7 Trustee of                        ADV. CASE NO. 10-03060-LMI
   the jointly administered estates of the Debtor,
   Cardiac Management Systems, Inc. and its
   affiliated debtors,

           Plaintiff,

   v.

   BDO SEIDMAN, LLP, n/k/a BDO USA, LLP
   a New York limited liability partnership,

         Defendant.
   ____________________________________/

        PLAINTIFF’S NOTICE OF DESIGNATION OF THE RECORD ON APPEAL AND
                STATEMENT OF ISSUES TO BE PRESENTED ON APPEAL

           The Plaintiff, Kenneth A. Welt (the “Trustee”), not individually but in his capacity as the

   Chapter 7 trustee of the jointly administered debtors in the pending bankruptcy case of Cardiac

   Management Systems, Inc., et al., by and through counsel and pursuant to Federal Rule of

   Bankruptcy Procedure 8006, designates the following items to be included in the record on

   appeal of: (1) the Court’s November 1, 2010 Order Granting BDO USA, LLP’s Motion to

   Compel Arbitration and to Stay Discovery [C.P. 24]; and (2) the Court’s January 2, 2011 Order

   Denying Motion of Plaintiff, Chapter 7 Trustee Kenneth A. Welt, for Reconsideration of Order
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   Granting Motion of Defendant BDO Seidman, LLP n/k/a BDO USA, LLP, to Compel Arbitration

   [C.P. 40], and sets forth the following issues to be presented on appeal.

                                DESIGNATION OF RECORD ON APPEAL

   Items from Adv. Case No. 10-03060-LMI


      Filing Date               #                                 Docket Text

                                           Complaint by Kenneth A. Welt, Chapter 7 Trustee
                                           against BDO Seidman, LLP, a New York Limited
                                           liability partnership, to Avoid and Recover Fraudulent
                                           Transfers and Demand for Jury Trial. Filing Fee Paid.
                                           Filed by Plaintiff Kenneth A. Welt (Cimo, David)
   05/24/2010                        1     (Entered: 05/24/2010)

                                           Motion to Compel Arbitration and to Stay Discovery, or
                                           in the alternative Motion To Stay (Re: 1 Complaint)
                                           Filed by Defendant BDO Seidman, LLP (Attachments: #
                                           1 Exhibit A# 2 Exhibit B# 3 Exhibit B Part II) (Newman,
   08/09/2010                        14    Ari) (Entered: 08/09/2010)

                                           Notice of Hearing (Re: 14 Motion to Compel filed by
                                           Defendant BDO Seidman, LLP) Hearing scheduled for
                                           08/27/2010 at 10:30 AM at 51 SW First Ave Room
   08/10/2010                        15    1409, Miami. (Sanabria, Noemi) (Entered: 08/10/2010)

                                           Amended Notice of Hearing (Re: 14 Motion to Compel
                                           filed by Defendant BDO Seidman, LLP) Hearing
                                           scheduled for 08/27/2010 at 02:30 PM at 51 SW First
                                           Ave Room 1409, Miami. (Sanabria, Noemi) (Entered:
   08/23/2010                        17    08/23/2010)

                                           Ex Parte Motion to Continue Hearing On: [(14 Motion
                                           to Compel, Motion To Stay)] Filed by Plaintiff Kenneth
                                           A. Welt (Attachments: #1 Proposed Order on Motion to
   08/25/2010                        18    Continue Hearing) (Cimo, David) (Entered: 08/25/2010)

                                           Order Granting Ex-Parte Unopposed Motion of Trustee
                                           to Continue Hearing On: (14 Motion to Compel
                                           Arbitration and to Stay Discovery). Hearing scheduled
                                           for 10/18/2010 at 03:00 PM at 51 SW First Ave Room
   08/26/2010                        20    1409, Miami. (Benitez, Judy) (Entered: 08/26/2010)


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                                   Opposition Response to (14 Motion to Compel
                                   Arbitration and to Stay Discovery filed by Defendant
                                   BDO Seidman, LLP, Motion To Stay (Re: 1 Complaint))
                                   Filed by Plaintiff Kenneth A. Welt (Cimo, David)
   10/14/2010                 23   (Entered: 10/14/2010)

                                   Order Granting Motion To Compel Arbitration (Re: #
                                   14), Granting Motion To Stay Discovery (Re: # 14 )
   11/01/2010                 24   (Benitez, Judy) (Entered: 11/01/2010)

                                   Transcript of 10/18/2010 Hearing (Re: 14 Motion to
                                   Compel Arbitration and to Stay Discovery, or in the
                                   alternative Motion To Stay). Redaction Request Due By
                                   11/18/2010. Statement of Personal Data Identifier
                                   Redaction Request Due by 12/2/2010. Redacted
                                   Transcript Due by 12/13/2010. Transcript access will be
                                   restricted through 02/9/2011. (Ouellette and Mauldin)
   11/11/2010                 27   (Entered: 11/11/2010)

                                   Motion to Reconsider (Re: 24 Order on Motion to
                                   Compel, Order on Motion to Stay) Filed by Plaintiff
   11/11/2010                 28   Kenneth A. Welt (Cimo, David) (Entered: 11/11/2010)

                                   Notice of Hearing (Re: 28 Motion for Reconsideration
                                   filed by Plaintiff Kenneth A. Welt) Hearing scheduled
                                   for 12/06/2010 at 09:30 AM at 51 SW First Ave Room
   11/12/2010                 30   1409, Miami. (Sanabria, Noemi) (Entered: 11/12/2010)

                                   Ex Parte Motion to Continue Hearing On: [(28 Motion
                                   to Reconsider)] Filed by Defendant BDO Seidman, LLP
   11/15/2010                 33   (Hutton III, John) (Entered: 11/15/2010)

                                   Order Granting Ex-Parte Unopposed Motion to Continue
                                   Hearing On: (28 Motion to Reconsider (Re: 24 Order on
                                   Motion to Compel, Order on Motion to Stay)). Hearing
                                   scheduled for 12/20/2010 at 09:30 AM at 51 SW First
                                   Ave Room 1409, Miami. (Benitez, Judy) (Entered:
   11/17/2010                 34   11/17/2010)

                                   Response to (28 Motion to Reconsider (Re: 24 Order on
                                   Motion to Compel, Order on Motion to Stay) filed by
                                   Plaintiff Kenneth A. Welt) Filed by Defendant BDO
   12/16/2010                 38   Seidman, LLP (Hutton III, John) (Entered: 12/16/2010)



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                                           Order Denying Motion To Reconsider 28 (Benitez, Judy)
   01/03/2011                         40   (Entered: 01/04/2011)

                                           Notice of Appeal Filed by Plaintiff Kenneth A. Welt (Re:
                                           24 Order Granting Motion To Compel Arbitration, 40
                                           Order Denying Motion To Reconsider 28 ). Appellant
                                           Designation due 01/19/2011. (Cimo, David) (Entered:
   01/05/2011                         42   01/05/2011)



   Items from Case No. 08-19029-BKC-LMI


      Filing Date                 #                                Docket Text



                                            Motion to Compromise Controversy with Merrill Lynch
                                            Commercial Finance Corp. Filed by Trustee Kenneth A
   03/18/2010               953             Welt. (Hartog, Ross) (Entered: 03/18/2010)

                                            Order Granting Motion To Compromise Controversy
                                            with Merrill Lynch Commercial Finance Corp (Re: #
   06/14/2010               990             953 ) (Benitez, Judy) (Entered: 06/15/2010)



                                  ISSUES TO BE PRESENTED ON APPEAL

          1.      Whether the Bankruptcy Court erred by failing to require BDO to meets its

   burden to show that there is an arbitration agreement that is enforceable against the Trustee, prior

   to shifting the burden to the Trustee to show that compelling arbitration would inherently conflict

   with the underlying purpose of the Bankruptcy Code when it was clear that the Trustee did not

   assume or agree to be bound by the arbitration provisions in the Engagement Agreements.

          2.      Whether the Bankruptcy Court erred as a matter of law in its application of The

   Whiting-Turner Contracting Co. v. Electric Machinery Enterprises, Inc. (In re Electric

   Machinery Enterprises, Inc.), 479 F.3d 791 (11th Cir. 2007) to the facts in this case by



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   determining that the fraudulent transfer claim is not a “core” claim for purposes of determining

   whether arbitration should be compelled.

          3.      Whether the Bankruptcy Court erred by ordering that if the arbitrators decline to

   address any of the legal claims, the parties may thereafter proceed with the litigation of any

   remaining issues in the Bankruptcy Court and that any factual or legal issues determined by the

   arbitrators shall have preclusive effect.

          4.      Whether the Bankruptcy Court erred in staying the adversary proceeding pending

   the conclusion of arbitration.

          5.      Whether the Bankruptcy Court erred by essentially determining that fraudulent

   transfer claim at issue in this case does not invoke substantive rights provided by Title 11 and

   does not arise only by virtue of the bankruptcy case.

          6.      Whether the Bankruptcy Court erred in finding that because the allegations

   underlying the fraudulent transfer claim derive from allegations of negligent performance of

   services that are subject to a contractual arbitration clause, the referral to arbitration would not

   interfere with the underlying purposes of the Bankruptcy Code.

          7.      Whether the Bankruptcy Court erred in compelling arbitration of the Trustee’s

   fraudulent transfer claim based on the Debtor’s actual intent to hinder and delay creditors in

   making those payments, when the Debtor’s conduct has no connection to the Engagement

   Agreements which contain the arbitration provisions.

          Dated this 12th      day of January, 2011.




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                                              I hereby certify that I am admitted to the Bar of the United States District
                                              Court for the Southern District of FL and I am in compliance with the
                                              additional qualifications to practice in this Court set forth in Local Rule
                                              2090-1(A).


                                              GENOVESE JOBLOVE & BATTISTA, P.A.
                                              Special Counsel for the Trustee
                                              100 S.E. Second Street, 44th Floor
                                              Miami, Florida 33131
                                              Telephone (305) 349-2300
                                              Direct Facsimile (305) 428-8804

                                              By: /s/ David C. Cimo
                                                  David C. Cimo
                                                  Fla. Bar. No. 775400



                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served

   electronically with the Clerk of Court using CM/ECF and via e-mail and U.S. Mail on the below-

   named addressees this 12th   day of January, 2011.

                                John B. Hutton, Esq.
                                Email: huttonj@gtlaw.com
                                D. Porpoise Evans, Esq.
                                Email: evansp@gtlaw.com
                                Greenberg Traurig, P.A.
                                1221 Brickell Avenue
                                Miami, Florida 33131
                                Tel. 305-579-0500


                                              By: /s/ David C. Cimo
                                                  David C. Cimo




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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       (MIAMI DIVISION)
                                      www.flsb.uscourts.gov

   In re                                                  CASE NO. 08-19029-BKC-LMI, et al.
                                                          CHAPTER 7
   CARDIAC MANAGEMENT SYSTEMS,                            (Jointly Administered)
   INC., et al.,

           Debtors.
                                                /

   KENETH A. WELT, Chapter 7 Trustee
   of the jointly administered estates of the
   Debtor, Cardiac Management Systems,
   Inc. and its affiliated debtors,

           Plaintiff,
   v.

   BDO SEIDMAN, LLP, a New York limited
   liability partnership,

         Defendant.
   ____________________________________/

                           ADVERSARY COMPLAINT TO AVOID AND
                             RECOVER FRAUDULENT TRANSFERS

                                                    AND

                                    DEMAND FOR JURY TRIAL

           The Plaintiff, Kenneth A. Welt (“Welt” or the “Trustee”), not individually but in his

   capacity as the Chapter 7 trustee of the jointly administered debtors in the pending bankruptcy

   case of Cardiac Management Systems, Inc., et al. (sometimes collectively referred to here as the

   “Debtor” or “Cardiac”), files this Adversary Complaint to Avoid and Recover Fraudulent

   Transfers and Demand for Jury Trial (the “Complaint”), against Defendant, BDO Seidman, LLP,

   a New York limited liability partnership (the “Defendant” or “BDO”), and alleges:
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                          THE PARTIES, JURISDICTION, AND VENUE

          1.      On June 30, 2008, the debtors filed voluntary petitions for relief under Chapter 11

   of Title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy

   Court for the Southern District of Florida, Miami Division (the “Bankruptcy Court”), Case No.

   08-19029-BKC-LMI.

          2.      On October 20, 2008, Cardiac sold substantially all of their assets pursuant to

   Bankruptcy Code Section 363 sale approved by order of the Bankruptcy Court (the “Sale Date”).

          3.      On November 13, 2008, the Court entered an Order converting Cardiac’s Chapter

   11 cases to cases under Chapter 7.

          4.      On November 14, 2008, Welt, who previously had been appointed Chapter 11

   trustee, was appointed by the Office of the United States Trustee as the Chapter 7 Trustee for

   each of Cardiac estates.

          5.      As such, Welt is the duly appointed and acting Chapter 7 Trustee for the above

   referenced jointly administered bankruptcy debtors and their respective non-debtor affiliates.1

          6.      Welt commences this action in his capacity as Chapter 7 Trustee for the jointly

   administered estates of Cardiac and as the sole and/or majority shareholder of each of Cardiac’s
   1
     Cardiac consists of: (i) DTG Management, Inc.; (ii) DTG of Sunset Square, Inc.; (iii) DTG of
   Sunset Square II, Inc.; (iv) Diagnostic Testing Group, Inc.; (v) DTG of Miami, Inc.; (vi) Lake
   Worth Diagnostic Testing Group, Inc.; (vii) Diagnostic Testing Group of Palm Beach, Inc.; (viii)
   Aventura Diagnostic Testing Group, Inc.; (ix) DTG of Aventura, Inc.; (x) Gables Diagnostic
   Testing Group, Inc.; (xi) Coral Gables Diagnostic Testing Group, LLC.; (xii) Cooper City
   Diagnostic Testing Group, Inc.; (xiii) DTG of Cooper City, Inc.; and (xiv) Pines Diagnostic
   Testing Group, Inc. Cardiac, Cardiac Management Systems, Inc., is the 100% shareholder or
   member of the following non-debtor entities: (i) BAC Realty Corp.; (ii) Children’s Diagnostic
   Testing Group of Broward, Inc.; (iii) Children’s Diagnostic Testing Group of Miami, Inc.; (iv)
   Children’s Diagnostic Group of Palm Beach, Inc.; (v) Children’s Diagnostic Group of Gables,
   Inc.; (vi) Children’s Diagnostic Testing of Aventura, Inc.; (vii) CMS of Brooklyn, Inc.; (viii)
   Douglas Diagnostics, Inc.; (ix) Empire Annex Limited; (x) Galloway Diagnostics, Inc.; (xi) Palm
   Diagnostic Imaging, Inc.; (xii) Pembroke West Diagnostic Imaging, Inc.; (xiii) Sheridan West
   Diagnostic Imaging, Inc.; (xiv) Waterways Imaging, Inc.; and (xv) Pembroke Pines Diagnostic
   Testing Group, LLC (collectively defined here as the “Non-Debtor Affiliates”).


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   Non-Debtor Affiliates, and pursuant to 11 U.S.C. § 541(a) as successor to the interests in

   property of the estate, and pursuant to 11 U.S.C. § 544.

           7.     At all times material hereto, BDO was and is a New York limited liability

   partnership practicing auditing, accounting, and other services within Miami-Dade County,

   Florida.

           8.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(a) and

   1334.

           9.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(A), (H) and (O) and,

   pursuant to Fed. R. Bankr. P. 7008(a), the Trustee does not consent to the entry of final orders or

   judgment by the Bankruptcy Court

           10.    All conditions precedent to the filing of this action have been waived, have been

   performed, or have occurred.

                               FACTS COMMON TO ALL COUNTS

   A.      The History and Business Operations of Cardiac and its Affiliates

           11.    Cardiac Management Systems, Inc. (“CMS”), a Delaware corporation, is the

   parent corporation of the other fourteen debtors as well as a dozen unfiled subsidiaries. Thirteen

   of these entities were Florida corporations. The other is a Florida limited liability company, the

   membership interests in which were owned 95% by CMS.

           12.    DTG Management, Inc. provided administrative services to all Cardiac entities.

   Five debtors operated medical imaging centers in Miami-Dade, Broward, and Palm Beach

   counties.




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            13.     Five others were the lessees of the leased space for the five operating locations

    and two Debtors which leased the administrative office suites, and these in turn subleased the

    space to their sister corporations at a very small mark-up of the lease rent.

            14.     The fifteenth debtor formerly operated a sixth location in Pembroke Pines.

            15.     Cardiac’s five operations marketed their services under a common name, DTG.

    The only other active subsidiaries of CMS were: (i) a corporation, BAC Realty Corp., which

    owned a portion of the real estate leased to the Lake Worth tenant entity; and (ii) five entities that

    billed for the five operations’ services provided to health plan participants, but those out-of-

    network revenues were passed through directly to the five operating entities.

            16.     Cardiac was engaged in the ownership and operation of five facilities that

    provided magnetic resonance imaging (MRI), computer tomography scanning (CT or CAT

    scan), and other nuclear cardiology testing. Cardiac did not provide services for the diagnosis or

    treatment of injury or disease, and consequently were not “health care businesses” as that term is

    used in the Bankruptcy Code, although they derived all of their income from providing scans and

    tests for the patients of others.

            17.     Cardiac’s operations were located in Miami (Galloway Road), Coral Gables,

    Aventura, Cooper City, and Lake Worth, and each location was leased.

            18.     Prior to its demise, Cardiac experienced rapid growth. Although Cardiac was

    purportedly profitable for some years, its bankruptcy filings attributed the Deficit Reduction Act

    of 2005 (the “DRA”) for causing significant cutbacks in Medicare spending, which Cardiac

    claimed caused a corresponding reduction in the amounts that Medicare would pay for MRI and

    CT services, and a resulting cutback in the fee schedules for managed care plans that were

    indexed to prevailing Medicare fee schedules.




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           19.     Cardiac, however, was well aware of the potential impact of the DRA on its

    business, and management failed to undertake sufficient measures to prepare for or otherwise

    deal with same.

           20.     Other factors Cardiac attributed in its bankruptcy filings to causing losses over the

    period 2006-2008 included the purported: (i) increase in physicians doing their own stress-

    testing; and (ii) the general malaise in the nation’s economy which has effectively limited access

    to health care by causing more employers to shift a greater portion of health care costs to

    employees.

           21.     In actuality, Cardiac’s increased insolvency and losses are directly attributable to

    the various acts and omissions of Debtor’s management and/or BDO.

           22.     After suffering reported losses of $1.8 million and $1.1 million for the fiscal year

    periods ended in September, 2006 and September, 2007, respectively, Cardiac suffered losses in

    excess of $4.1 million during the six month period ended March 31, 2008,.

    B.     Management’s Acts, Omissions and Breaches of Fiduciary and Intent to Hinder or
           Delay Creditors

           23.     Stephen Cianciulli (“Cianciulli”) and Harold Gobstein (“Gobstein”) were officers

    and/or directors of Cardiac and/or the Non-Debtor Affiliates (Cianciulli and Gobstein shall

    sometimes collectively be referred to herein as the Debtor’s “principals” or “management”).

           24.     The Debtor’s principals maintained the following positions with Cardiac (along

    with respective their salaries and benefits) during the two years prior to the petition date:

                   a.      Cianciulli: President and chief executive officer until May 2008; still

                           president of CMS and director of all companies through the Sale Date;

                           paid compensation as part of $40,000/month in Cardiac’s management




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                            fees to CMS; paid additional compensation from other Debtors, group

                            health insurance coverage, and a significant auto allowance.

                     b.     Gobstein: Secretary (and director) of Cardiac and the Non-Debtor

                            Affiliates; paid as part of $40,000/month in Cardiac’s management fees to

                            CMS; group health insurance coverage.

           25.       The mismanagement of Cardiac and the Non-Debtor Affiliates leading to their

    insolvency and the breaches of duties owed by the Debtor’s principals both prior to and after it

    became insolvent can be divided into two broad categories: financial mismanagement and

    irregularities; and the failure to engage in meaningful oversight of Cardiac’s operations.

           26.       Cianciulli and Gobstein, as officers and/or directors of Cardiac and the Non-

    Debtor Affiliates, failed to understand the ramifications of Cardiac’s deteriorating financial

    condition and to engage in any meaningful oversight of Cardiac’s operations pre-petition, nor did

    they undertake sufficient or adequate measures to prevent the increased insolvency of the

    enterprise.

           27.       Cianciulli and Gobstein similarly were grossly negligent, reckless, and/or lacked

    good faith by failing to cause or otherwise implement sufficient measures such that adequate

    and/or competent books and records would be maintained to ensure, among other things, that

    Cardiac’s income and financial statements and other financial data contained no material

    misstatements.

           28.       Specifically, and without limitation, the record-keeping of Cardiac was wholly

    inadequate by, among other deficiencies, the failure to post or reconcile numerous transactions

    spanning several months, including records relating to Cardiac’s accounts receivable. Such




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    actions or inactions resulted in a significant decrease in the collectability of Cardiac’s receivables

    to the detriment of Cardiac’s creditors and shareholders.

           29.     In addition, the principals of the Debtor were grossly negligent, reckless, and/or

    lacked good faith, and otherwise caused the Debtors to conduct business in a manner intended to

    hinder or delay creditors:

                   a.      by failing to ensure that the accounts receivable departments of Cardiac

                           were properly staffed, trained, supervised, managed, and/or otherwise

                           operated, especially given the high importance of such function to

                           Cardiac’s business and financial operations, along with the highly

                           regulated, paperwork-oriented nature of the health care industry;

                   b.      by failing to timely shut down or make substantial cost reductions to

                           unprofitable Debtor and Non-Debtor Affiliates during the two years prior

                           to the petition date which caused, among other harm, severe financial

                           hardship on and substantial operating losses to the few remaining affiliates

                           that had been operating break-even or at a profit;

                   c.      by failing to undertake reasonable, necessary, appropriate, and/or

                           sufficient measures to prepare for the potential adverse effects of the DRA

                           on Cardiac’s operations, which act went into effect commencing January

                           1, 2007, when they knew or should have known that such act would have a

                           substantial adverse impact on Cardiac’s business and financial operations;

                   d.      by engaging in a highly questionable business practice whereby insurers of

                           patients were improperly billed for higher out-of-network charges, when

                           no right to seek out-of-network payment existed. Specifically, as part of




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                      this questionable business practice, management improperly caused each

                      location of Cardiac to maintain two separate licenses with Florida’s

                      Agency for Health Care Administration.        As the opportunities arose,

                      management would then cause Cardiac to improperly submit bills against

                      one license or the other such that the higher out-of-network amounts

                      would apply, even though Cardiac was contractually and/or legally

                      required to use or apply the lower in-network charges.          When the

                      representatives of medical insurers, who had no knowledge that such

                      scheme was in place, contacted Cardiac to question the higher out-of

                      network billings, the Debtor’s principals directed and/or otherwise

                      permitted employees of Cardiac to attribute and re-characterize such

                      transactions as “billing errors,” and would instruct Cardiac’s employees to

                      cause such transactions to be written off, while knowing that a large

                      percentage of such improper billings would not be questioned by the

                      insurers;

                e.    by engaging in and/or otherwise permitting materially inaccurate financial

                      information to be processed and disseminated internally and to third

                      parties, including Cardiac’s secured lenders, which information, among

                      other deficiencies, grossly overstated the revenues and the value of

                      Cardiac’s assets, including their accounts receivable;

                f.    by allowing and/or otherwise permitting certain debtor and Non-Debtor

                      Affiliates acting out of network to engage in substantial improper billings




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                          resulting in, among other negative consequences, denials of claims by

                          medical insurers; and

                   g.     by allowing and/or otherwise permitting substantial preferential and/or

                          fraudulent transfer payments to be made to Cianciulli and/or his affiliates.

    C.     BDO’s Duties as Cardiac’s Auditors

           30.     Between the 1990’s and 2008, BDO provided independent audit and other

    professional services for Cardiac, and issued audit reports for fiscal years (ending September 30)

    2005, 2006, and 2007 (sometimes collectively referred to herein as the “Audits”), which were

    accepted and acknowledged by Cardiac’s management.

           31.     For each audit year, BDO’s audit reports expressed unqualified opinions on

    Cardiac’s financial statements

           32.     In regard to the services rendered for Cardiac, BDO represented that it would

    conduct, and was otherwise legally obligated to conduct, its services, including the Audits, in

    accordance with Generally Accepted Auditing Standards (“GAAS”) and the applicable

    professional guidelines and standards, including those requirements of GAAS that required that

    BDO to, among other things, obtain reasonable assurance about whether the financial statements

    were free of material misstatement and were fairly presented, in all material respects, in

    conformity with Generally Accepted Accounting Principles (“GAAP”).

    D.     The Improper Accounting Methods and Failure of Management to Implement
           Adequate Safeguards and Controls and of BDO to Identify Same

           33.     BDO and Cardiac’s management knew or had reason to know that Cardiac was

    using improper and flawed accounting methods (collectively, the “Accounting Errors and/or

    Material Inaccuracies”), thereby resulting in, among other damages, an unduly artificially




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    prolonged existence causing increased insolvency, increased liabilities, and diminution in the

    assets and enterprise value of Cardiac.

           34.     Further, BDO and Cardiac’s management knew or had reason to know that

    Cardiac had failed to undertake adequate measures or implement sufficient safeguards or

    controls to prevent the Accounting Errors and/or Material Inaccuracies from occurring at or

    during certain material periods of time, or otherwise failed to demand or ensure that sufficient

    safeguards or controls were or would be implemented by Cardiac to prevent the Accounting

    Errors and/or Material Inaccuracies from occurring.

           35.     To the extent adequate measures or controls were in place, they were ignored or

    otherwise overridden by certain of Cardiac’s management, or they willfully turned a blind eye.

    Irrespective, BDO did not consider or require modification of the financial statements for the

    Accounting Errors and/or Material Inaccuracies in the performance of its services, including the

    Audits, resulting in, among other things, the issuance of materially misstated financial statements

    and audit opinions thereon that did not comply with GAAS.

    E.     BDO’s Acts and Omissions in Conducting its Audits

           36.     BDO, meanwhile, failed in its duties by not recognizing or otherwise requiring

    modification of the financial statements for the Accounting Errors and/or Material Inaccuracies

    in performing its services, including the Audits, and in so doing caused Cardiac to overstate its

    financial position and results of operations.

           37.     Specifically, BDO did not adhere to GAAS and other applicable standards by,

    among other acts and omissions:

                   a.      breaching its duties to Cardiac by violating numerous provisions of GAAS

                           and/or applicable professional guidelines and standards related to GAAS




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                      in the conduct of the Audits including, but not limited to, those related to:

                      (i) the exercise of due professional care (General Auditing Standard No.

                      3), (ii) the proper planning and supervision of an audit (Standards of Field

                      Work No. 1), (iii) collecting sufficient, competent evidence (Standards of

                      Field Work No. 3), (iv) presentation of the financial statements in

                      accordance with GAAP (Standards of Reporting No. 1), (v) providing

                      informative disclosures (Standards of Reporting No. 3), and (vi) AICPA

                      Audit and Accounting Guide, Health Care Organizations.

                b.    in violation of Statement on Auditing Standards (“SAS”) 99 (entitled

                      Consideration Fraud in a Financial Statement Audit), failing to assess the

                      risk of material misstatement due to fraud by, among other things: (i)

                      failing to conduct an adequate “brainstorming” session; (ii) failing to

                      require the attendance of a partner at the “brainstorming” session assessing

                      areas that the auditor believed might indicate fraud; and (iii) failing to

                      identify any facts or circumstances attendant to its audit to assist in

                      identifying fraud, yet preparing a “brainstorming” session memo” which

                      expressly identified the possibility “over billing of insurance companies

                      for services & fictitious billings for services” as a potential fraudulent

                      activity in the client’s industry;

                c.    in violation of AU 150 (GAAS fieldwork standards), AU 230 (entitled

                      Due Professional Care), AU 330 (entitled the Confirmation Process), and

                      the AICPA Audit and Accounting Guide, Health Care Organizations

                      failing to confirm the accounts receivable or otherwise prepare a proper




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                      memo supporting its decision not to confirm the outstanding accounts

                      receivable of the Debtor;

                d.    in violation of AU 150 (GAAS fieldwork standards), AU 230 (entitled

                      Due Professional Care), AU 342 (entitled Auditing Accounting

                      Estimates), AU 329 (entitled Analytical Procedures), and the AICPA

                      Audit and Accounting Guide, Health Care Organizations, failing to

                      adequately perform compliance testing by, among things: (i) encountering

                      an excessive and material number of exceptions that were never

                      adequately resolved; and (ii) failing to perform adequate analytical

                      procedures regarding revenue and accounts receivable;

                e.    in violation of AU 329 (entitled Analytical Procedures), AU 342 (entitled

                      Auditing Accounting Estimates), and the AICPA Audit and Accounting

                      Guide, Health Care Organizations failing to develop industry and client

                      expectations regarding the relationship among the financial statement

                      components including A/R, sales, A/R aging, revenue, contractual write-

                      off, and allowance for bad debt;

                f.    in violation of AU 150, AU 230, and the AICPA Audit and Accounting

                      Guide, Health Care Organizations, failing to gain sufficient knowledge of

                      the client, the rate setting environment, and its industry;

                g.    in violation of AU 230, failing to exercise professional skepticism;

                h.    in violation of AU 210 (entitled Training and Proficiency of Independent

                      Auditor), AU 230, AU 314 (entitled Understanding the Entity and its

                      Environment and Assessing the Risks of Material Misstatements)(or SAS




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                          55 as applicable), AU 318 (entitled Performing Audit Procedures in

                          Response to Assessed Risks and Evaluating the Audit Evidence

                          Obtained)(or SAS 55 as applicable, AU 329, AU 330, AU 342, and the

                          AICPA Audit and Accounting Guide, Health Care Organizations, failing

                          to obtain and evaluate sufficient and appropriate audit evidence to support

                          certain accounting estimates including accounts receivable and revenue;

                   i.     in violation of AU 210, AU 230, AU 330, AU 329, AU 342, and the

                          AICPA Audit and Accounting Guide, Health Care Organizations, failing

                          to appropriately plan, design, and implement compliance testing relating

                          to accounts receivable and revenue; and

                   j.     other breaches as may be determined through discovery.

           38.     As a result of the foregoing acts and omissions, Cardiac and its respective Non-

    Debtor Affiliates did not receive reasonably equivalent value in exchange for the payments made

    to BDO for its services.

                                    THE TRANSFERS AT ISSUE

           39.     During the fours years prior to the Petition Date, the Debtors made the following

    transfers to BDO:




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                                         Check
      Debtor - Bank                      Clear      Check
          Acct           Check Date      Date        No.          Payee        Check Memo       Amount


     CMS - BA#4451         3/14/2005    3/18/2005   5982     BDO Seidman LLP   Inv 797135         51,954.00
     CMS - BA#4451         3/12/2006    3/20/2006   6106     BDO Seidman LLP   Inv 901061         54,121.00
     CMS - BA#4451          3/9/2007    4/16/2007   6222     BDO Seidman LLP                      59,758.00
     DTG Mgmt -                                                                Payment
     BA#4790              03/21/2008   03/31/2008   4940     BDO Seidman LLP   Towards Audit      25,000.00
     DTG Mgmt -                                                                Payment
     BA#4790              06/30/2008   07/07/2008   5192     BDO Seidman LLP   Towards Audit      25,000.00
                                                             Total BDO Seidman LLP             $ 215,833.00



    (the foregoing transfers, along with any and all other transfers or incurred obligations made or

    otherwise incurred during the four years prior to the Petition Date for or related to services

    rendered by BDO, including the execution of engagement letters with terms, conditions and/or

    obligations materially unfavorable to the Debtor, shall collectively be referred to herein as the

    “2004-2008 Transfers”).

                                       AVOIDANCE AND RECOVERY
                                       OF FRAUDULENT TRANSFERS

             40.      The Trustee realleges paragraphs 1 through 39 above as if fully set forth herein.

             41.      This is an action to avoid and recover transfers and improperly incurred

    obligations made from and by the Debtor to BDO during the four years prior to the Petition Date

    for all audit and/or accounting services rendered as fraudulent transfers in accordance with

    Sections 544 and 548 of the Bankruptcy Code and Sections 726.105(1)(b) and/or 726.106(1) of

    the Florida Statutes and/or other applicable law.

             42.      Pursuant to 11 U.S.C. §§544(b) and 548, the Trustee may avoid any transfer of an

    interest in property of the Debtor to BDO or any obligations incurred by the Debtor that are

    avoidable under applicable law (in this case, Florida law) by a creditor holding an unsecured

    claim.


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            43.    Pursuant to 11 U.S.C. §550, to the extent that a transfer is avoided under either

    Section 544(b) or 548 of the Bankruptcy Code, then the Trustee may recover the property

    transferred or the value of the property from the initial transferee or any mediate or immediate

    transferee.

            44.    The funds that are and were the subject of the 2004-2008 Transfers constituted

    transfers of an interest in property of the Debtor within four (4) years prior to the Petition Date.

            45.    The Debtor made the 2004-2008 Transfers with the actual intent to hinder or

    delay creditors. Alternatively, as a result of the acts and omissions of BDO set forth above, the

    Debtor did not receive reasonably equivalent value from BDO in exchange for the 2004-2008

    Transfers and the Debtor (i) were insolvent at the time of the 2004-2008 Transfers or became

    insolvent as a result thereof; (ii) were engaged or were about to engage in a business or

    transaction for which the remaining assets of the Debtor were unreasonably small in relation to

    the business or transaction; or (iii) intended to incur, or believed or reasonably should have

    believed that its would incur, debts beyond its ability to pay as they became due.

            46.    At the time of the 2004-2008 Transfers, there were actual creditors who could

    have avoided the 2004-2008 Transfers, as evidenced by the bankruptcy estate’s proof of claim

    register.

            47.    As a result of the above, the Trustee can avoid the 2004-2008 Transfers pursuant

    to sections 544 and 548 of the Bankruptcy Code, Fla. Stat. 726.105(1)(b), 726.106(1) and/or

    other applicable law, and recover the value of the 2004-2008 Transfers for the benefit of the

    estate of the Debtor, pursuant to Section 550 of the Bankruptcy Code.

            48.    Pursuant to 11 U.S.C. §§544, 548 and 550 and Chapter 726 of the Florida

    Statutes, the Trustee is entitled to recover from BDO the value of the 2004-2008 Transfers.




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           WHEREFORE, the Trustee demands judgment against BDO as follows: (i) determining

    that the 2004-2008 Transfers were fraudulent and avoiding the 2004-2008 Transfers for the

    benefit of the estate of the Debtor under 11 U.S.C. §§544(b), 548 and 550 and Chapters

    726.105(1)(b) and/or 726.106(1) of the Florida Statutes and/or other applicable law; (ii) entering

    judgment in favor of the Trustee against BDO for the amount of the 2004-2008 Transfers

    pursuant to Section 550 of the Bankruptcy Code, together with pre-judgment and post-judgment

    interest and costs; and (iii) for any other relief the Court deems appropriate.

                                     DEMAND FOR JURY TRIAL

           49.     The Trustee demands a trial by jury in regard to each and every count of the

    Complaint and in regard to any and all other claims and issues triable by such. The Trustee does

    not consent to a jury trial by or before the Bankruptcy Court.

           Respectfully submitted this 24th day of May, 2010.

                                                   I hereby certify that I am admitted to the Bar of the United States District
                                                   Court for the Southern District of FL and I am in compliance with the
                                                   additional qualifications to practice in this Court set forth in Local Rule
                                                   2090-1(A).


                                                   GENOVESE JOBLOVE & BATTISTA, P.A.
                                                   Special Counsel for the Trustee
                                                   100 S.E. Second Street, 44th Floor
                                                   Miami, FL 33131
                                                   Tel. (305) 349-2300
                                                   Fax. (305) 349-2310

                                                   By:      /s/ David C. Cimo
                                                         David C. Cimo
                                                         Fla. Bar. No. 775400
                                                         dcimo@gjb-law.com




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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      (MIAMI DIVISION)
                                     www.flsb.uscourts.gov

    In re:                                                       Chapter 7

    CARDIAC MANAGEMENT SYSTEMS, INC.                             Case No. 08-19029-BKC-LMI
                                                                 (Jointly Administered)
                            Debtor.
    _______________________________________/

    KENNETH A. WELT, Chapter 7 Trustee
    of the jointly administered estates of the
    Debtor, Cardiac Management Systems,
    Inc. and its affiliated debtors,

                                          Plaintiff,
    v.                                                           Adv. Pro. No. 10-03060-LMI

    BDO SEIDMAN, LLP, n/k/a BDO USA, LLP,
    a New York limited liability partnership,

                                  Defendant.
    ________________________________________/

                   BDO USA, LLP’S MOTION TO COMPEL ARBITRATION
                 AND TO STAY DISCOVERY, OR ALTERNATIVELY, TO STAY

             Defendant, BDO USA, LLP (“BDO”), respectfully moves, pursuant to Sections 3 and 4

    of the Federal Arbitration Act, 9 U.S.C. § 1 et seq., to compel arbitration of the claim asserted by

    Kenneth A. Welt (“Welt”), Chapter 7 Trustee of the jointly administered estates of the Debtor,

    Cardiac Management Systems, Inc., and its affiliated debtors (collectively “CMS”), and to stay

    discovery, or alternatively, to stay this adversary proceeding pending arbitration of intertwined

    and overlapping predicate issues. In support of its motion, BDO states as follows:
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                                            INTRODUCTION

            This adversary proceeding arises from written engagement agreements (the “Engagement

    Agreements”) under which BDO audited CMS’s financial statements for 2004 through 2007. As

    the Chapter 7 trustee for CMS, Welt contends that BDO was obligated under the Engagement

    Agreements to conduct audits in accordance with Generally Accepted Auditing Standards

    (“GAAS”), but failed to meet that obligation.         Welt, accordingly, seeks a refund of the

    professional fees CMS paid BDO for the audits, claiming that the fees paid constitute fraudulent

    transfers.

            BDO contests Welt’s allegations that BDO failed to meet its professional and contractual

    obligations, and that it caused CMS damages. It is unnecessary, however, for the Court to

    embroil itself in resolving Welt’s claims. For under the Engagement Agreements, “any” claims

    relating to BDO’s audits are required to be resolved in arbitration. Welt is estopped from

    objecting to arbitration because his claims against BDO are founded upon the auditing services

    BDO provided pursuant to the Engagement Agreements, including whether BDO conducted

    audits that failed to meet professional standards, and whether CMS is entitled to a refund of the

    fees it paid. The Court should, therefore, order that Welt’s claims against BDO be arbitrated and

    stay interim discovery or, at minimum, stay this action in its entirety until all issues referable to

    arbitration are resolved.




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                                                STATEMENT OF FACTS

    The Engagement Agreements CMS Signed Require Arbitration

               CMS and its affiliates provided medical imaging and other testing services. [D.E. #1

    (Adv. Comp. ¶ 16.) Beginning in the 1990s and continuing from 2004 through 2007, CMS

    entered into Engagement Agreements under which it retained BDO to conduct annual audits of

    its financial statements. (Declaration of Lisa A. Morris [“Morris Decl.”],1 Exs. “A,” “B,” and

    “C”; see Adv. Comp. ¶ 30.) BDO agreed in the Engagement Agreements to conduct audits “in

    accordance with auditing standards generally accepted in the United States.” (Morris Decl., Exs.

    “A”, “B”, and “C”; see Adv. Comp. ¶¶ 32, 39.)

               Each Engagement Agreement CMS signed contains a broad arbitration clause mandating

    that:

                        If any dispute, controversy, or claim arises in connection with the
                        performance or breach of this agreement (including disputes
                        regarding the validity or enforceability of this agreement) and
                        cannot be resolved by facilitated negotiations (or the parties waive
                        that process), then such dispute, controversy, or claim shall be
                        settled by arbitration.

    (Morris Decl., Exs. “A”, “B”, and “C”.) Confirming its intent to arbitrate, CMS further agreed to

    detailed provisions under which arbitration is to be conducted.                    CMS agreed that (1) the

    “proceeding shall be governed by the provisions of the Federal Arbitration Act (FAA) or, if a

    court of competent jurisdiction determines the FAA to be inapplicable, by the laws of the state in

    which the proceeding is to take place”; (2) the “proceedings shall proceed in accordance with the

    then-current Arbitration Rules for Professional Accounting and Related Disputes of the

    American Arbitration Association (AAA)”; and (3) the proceeding shall be conducted by a panel




    1
        A true and correct copy of the Morris Decl. is attached hereto as Exhibit A.


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    consisting of “three persons, one chosen by each party and a third selected by the two party-

    selected arbitrators.” (Id.)

               Welt contends that due to mismanagement by certain of its officers and directors,

    combined with cutbacks in Medicare spending under the Deficit Reduction Act of 2005, and

    other problems, CMS began to sustain losses in 2006 through 2008. (Adv. Comp. ¶¶ 18-20.)

    CMS’s bankruptcy case followed, with Welt initially appointed CMS’s Chapter 11 bankruptcy

    trustee, followed by the bankruptcy case being converted to a Chapter 7 case, in which Welt

    remained as CMS’s Chapter 7 bankruptcy trustee. (Id. ¶¶ 1-4.)

    Welt Sues BDO In State Court For Professional Negligence

               On May 13, 2010, Welt sued BDO in the Circuit Court of the Eleventh Judicial Circuit in

    and for Miami-Dade County, Florida, and amended his complaint on June 21, 2010.

    (Declaration of Nikki Simon [“Simon Decl.”],2 Exs. “1”, “2”) (the “State Court Action”). In the

    State Court Action, Welt asserts that BDO was retained to conduct financial statement audits for

    CMS, that BDO “represented” in the Engagement Agreements that the audits would be

    conducted in accordance with GAAS, and that BDO’s audits failed to meet professional

    standards. (Id. Ex. “2” ¶¶ 39-41, 45-46, 56-60.) Based upon theories of professional negligence,

    and aiding and abetting a breach of fiduciary duty, Welt seeks in excess of $6 million in

    damages, which presumably includes a refund of fees CMS paid for the audits. (Id. ¶ 47.)

    Consistent with the Engagement Agreements, on June 2, 2010, BDO moved to compel

    arbitration of Welt’s claims in the State Court Action; the motion remains pending. (Simon

    Decl., Ex. “3”.)

               In the meantime, on May 24, 2010, Welt commenced the present adversary proceeding

    repeating – in many instances verbatim – the allegations that are the foundation of his complaint

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        A true and correct copy of the Simon Decl. is attached hereto as Exhibit B.


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    in the State Court Action. As in the State Court Action, Welt’s Adversary Complaint alleges that

    BDO was retained to conduct financial statement audits for CMS, that BDO “represented” in the

    Engagement Letters that it would conduct its audits in accordance with GAAS, and that BDO’s

    audits did not comply with professional standards. (Adv. Comp. ¶¶ 30-36.) The Adversary

    Complaint concludes that because BDO allegedly failed to conduct its audits as represented in

    the Engagement Agreements, CMS is entitled to a refund of the fees it paid for the audits under

    state and federal “fraudulent transfer” laws. (Id. ¶¶ 39-48.) On July 9, 2010, Welt served

    Plaintiff’s First Request for Production to Defendant seeking documents purportedly relevant to

    his arbitrable claims. (Simon Decl., Ex. “4”.)

                                               ARGUMENT

    I.     THE COURT SHOULD COMPEL ARBITRATION OF WELT’S CLAIM

           A.      The Federal Arbitration Act Requires Arbitration Under
                   The Written Engagement Agreements CMS Signed

            The Federal Arbitration Act (the “FAA”) was enacted as an expression of “a strong

    federal policy in favor of arbitration.” Picard v. Credit Solutions, Inc., 564 F.3d 1249, 1253

    (11th Cir. 2009). Consistent with that strong federal policy, the FAA makes an order compelling

    arbitration mandatory where a party refuses to arbitrate “under a written agreement for

    arbitration.” 9 U.S.C. § 4; see Dean Witter Reynolds v. Byrd, 470 U.S. 213, 219 (1985) (“By its

    terms, the Act leaves no place for the exercise of discretion by a district court, but instead

    mandates that district courts shall direct the parties to proceed to arbitration on issues as to which

    an arbitration agreement has been signed.”). Any doubts concerning the scope of arbitrable

    issues “should be resolved in favor of arbitration.”        Moses H. Cone Hospital v. Mercury

    Construction, 460 U.S. 1, 24 (1983).




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            CMS agreed in the Engagement Agreements under which BDO was retained and

    conducted audits to arbitrate “any dispute, controversy, or claim” that “arises in connection with

    the performance or breach of this agreement . . . .”. (Morris Decl., Exs. “A,” “B,” and “C”.)

    Welt’s claims are founded upon BDO’s audits of CMS’s financial statements, the performance of

    which was the express subject of the Engagement Agreements that contained CMS’s agreement

    to arbitrate. Because Welt is CMS’s representative, and seeks to hold BDO liable in connection

    with its performance of the audits for which it was retained under the Engagement Agreements

    CMS signed, Welt should be required to arbitrate his fraudulent transfer claims against BDO.

    See McBro Planning & Development Co. v. Triangle Electrical Construction Co., 741 F.2d 342,

    344 (11th Cir. 1984) (“it is well-established that a party may not avoid broad language in an

    arbitration clause by attempting to cast its complaint in tort rather than contract” where the basis

    of party’s claim is that the defendant breached duties under the agreement containing an

    arbitration clause).3

            B.      Welt Is Required To Arbitrate His Fraudulent Transfer
                    Claim Under The Doctrine Of Equitable Estoppel

            Welt’s attempt to avoid arbitration by asserting a “fraudulent transfer” claim as a

    purported non-signatory to the Engagement Agreements, rather than asserting claims for breach

    of contract or negligence as he has in the State Court Action, fails under the doctrine of equitable

            3
             Welt is bound by CMS’s arbitration agreement because, as trustee, he succeeds “only to
    such rights” as CMS possessed, subject to all “defenses which might have been asserted against
    [CMS] but for the filing of the petition.” Bank of Marin v. England, 385 U.S. 99, 101 (1966);
    see Kirschner v. Grant Thornton, LLP (In re: Refco, Inc. Securities Litigation), Nos. 07 MDL
    1902 (GEL), 07 Civ. 11604 (GEL), 2008 WL 2185676, at *5 (S.D.N.Y. 2008) (trustee, “as
    successor in interest to the [debtors], is bound by the arbitration clause” in engagement
    agreements with accountants). It appears that Welt seeks to avoid his obligation to arbitrate by
    disguising what would ordinarily be a negligence or breach of contract claim under the label
    “fraudulent transfer,” which some courts have held is a creditor-derived claim. See, e.g., In re
    Friedman’s, Inc., 372 B.R. 530, 545 (S.D. Ga. 2007). In this case, the label Welt assigned to his
    claim is beside the point, however, because he is estopped from refusing to arbitrate.


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    estoppel. In Andersen, LLP v. Carlisle, 129 S. Ct. 1896, 1902-03 (2009), the United States

    Supreme Court confirmed that arbitration agreements may be enforced against a non-signatory

    where “traditional principals” of contract law permit. Contract law provides that a non-signatory

    to an arbitration agreement is equitably estopped from refusing to arbitrate when the “very basis”

    of the party’s claim is that the defendant “breached the duties and responsibilities” under the

    agreement containing the arbitration clause. McBro Planning, 741 F.2d at 344; see Blinco v.

    Green Tree Servicing, LLC, 400 F.3d 1308, 1312 (11th Cir. 2005) (“Equitable estoppel precludes

    a party from claiming the benefits of a contract while simultaneously attempting to avoid the

    burdens that contract imposes.”); BDO Seidman, LLP v. Bee, 970 So. 2d 869, 875 (Fla. 4th DCA

    2007) (“A party may not rely on a contract to establish his claims while avoiding his obligation

    under the contract to arbitrate such claims.”).

           Welt is equitably estopped from not arbitrating because the “very basis” of his claim for a

    refund is that BDO breached its purported obligation under the Engagement Agreements to

    conduct audits in accordance with professional standards. McBro Planning, 741 F.2d at 344

    (plaintiff contractor estopped from refusing to arbitrate where “the very basis of the contractor’s

    claim against the construction manager was that the manager breached the duties and

    responsibilities assigned by the owner-contractor agreement”); Blue Springs Internal Medicine,

    PC v. Blue Cross & Blue Shield of Kansas City (In re: Managed Care Litigation), No. 05-23326-

    CIV, 2009 WL 855963, at *9 (S.D. Fla. March 30, 2009) (plaintiff estopped from denying

    arbitration by seeking “a remedy under the Agreements”). Welt’s claim is for “fraudulent

    transfers” based upon state and federal laws. (Adv. Comp. ¶¶ 40-48.) Thus, Welt’s claim fails




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    unless he establishes that BDO did not provide “reasonably equivalent value” for the fees it

    received pursuant to the Engagement Agreements. 11 U.S.C. § 548; Fla. Stat. § 762.105(1)(b).4

           To satisfy his burden to establish a lack of “reasonably equivalent value,” Welt invokes

    BDO’s obligations to CMS, and the fees CMS paid to BDO, under the Engagement Agreements.

    Welt contends that in exchange for fees, BDO agreed to perform audits in accordance with

    GAAS. (Adv. Comp. ¶¶ 32, 39.) According to Welt, BDO “breached its duties to CMS by

    violating numerous provisions of GAAS” when conducting the audits that were the subject of the

    Engagement Agreements. (Adv. Comp. ¶ 37.) Welt asserts, accordingly, that because BDO

    conducted faulty audits, CMS “did not receive reasonably equivalent value in exchange for the

    payments made to BDO for its services.” (Id. ¶ 38.)

           Thus, the “very basis” of Welt’s claim -- although cast as a “fraudulent transfer” -- is that

    BDO breached its duties and obligations under the Engagement Agreements. Having invoked

    the “benefit” of asserting a claim based upon BDO’s duties and obligations under the

    Engagement Agreements, Welt is estopped from refusing to arbitrate those issues as required

    under the same agreements.

           C.      Welt’s Labeling His Claims “Core” Does Not Preclude Arbitration

           The FAA mandates that arbitration agreements be enforced – even when the claims

    asserted are core – “unless Congress has clearly expressed an intention to preclude arbitration of

    a statutory claim.” Whiting-Turner Contracting Co. v. Electric Machinery Enterprises, Inc. (In

    re: Electric Machinery Enterprises, Inc.), 479 F.3d 791, 795 (11th Cir. 2007). In Whiting-

    Turner, the Eleventh Circuit confirmed that there is “no evidence within the text or in the

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              New York law applies to the state-based claim Welt asserts. Because arbitration is
    required regardless of the applicable law, there is no “conflict” requiring the Court’s
    intervention. BDO does not intend by this motion to compel arbitration to waive its right to
    assert the applicable New York law when and if a conflict materializes.


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    legislative history that Congress intended to create an exception to the FAA in the Bankruptcy

    Code.” Id. at 796; accord Ins. Co. of N. Am. v. NGC Settlement Trust & Asbestos Claims Mgmt.

    Corp. (In re National Gypsum), 118 F.3d 1056, 1067 (5th Cir. 1997) (“Certainly not all core

    bankruptcy proceedings are premised on provisions of the Code that ‘inherently conflict’ with

    the Federal Arbitration Act; nor would arbitration of such proceedings necessarily jeopardize the

    objectives of the Bankruptcy Code.”).

           Nor can Welt establish that enforcing the arbitration agreement between CMS and BDO

    would “inherently conflict with the underlying purposes of the Bankruptcy Code.” Whiting-

    Turner, 479 F.3d, at 796-97; see Shearson/American Express v. McMahon, 482 U.S. 220, 227

    (1987) (party opposing arbitration has burden to prove “that Congress intended to preclude a

    waiver of judicial remedies for [the claim] at issue”). The inherent purpose of the Bankruptcy

    Code, including labeling certain disputes “core,” includes the “goal of centralized resolution of

    purely bankruptcy issues, the need to protect creditors and reorganizing debtors from piecemeal

    litigation, and the undisputed power of a bankruptcy court to enforce its own orders.” National

    Gypsum, 118 F.3d at 1069.

           None of those interests would even be implicated by requiring Welt to resolve his

    fraudulent transfer claim in arbitration along with his other claims against BDO.        To the

    contrary, the core issue in this case -- whether BDO conducted its audits in accordance with

    GAAS as required under the Engagement Agreements -- has nothing to do with bankruptcy law;

    that core issue is governed by the common laws of contracts and torts.            Perhaps more

    importantly, the most central and efficient method of resolving Welt’s claim is in arbitration,

    where the remainder of the claims he asserts against BDO, and damages he seeks, are required to

    be resolved under the Engagement Agreements.




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           In short, Welt is unable to meet his burden to establish that arbitration of his claim would

    “inherently conflict with the underlying purposes of the Bankruptcy Code,” and therefore, the

    fact that Welt labeled his claim “core” is not an impediment to arbitration.

    II.    THIS ACTION SHOULD NEVERTHELESS BE STAYED
           PENDING AN ARBITRATION BETWEEN WELT AND BDO

           Should the Court determine to retain jurisdiction of Welt’s claim, the present action

    should be stayed pending arbitration of Welt’s overlapping professional negligence claims,

    currently subject to a motion to compel arbitration in state court. Under Section 3 of the FAA, a

    stay is mandatory where, as here, the action concerns “any issue referable to arbitration under an

    agreement in writing for such arbitration . . . .”. 9 U.S.C. § 3. Moreover, even if Welt could

    establish his claim is non-arbitrable – which he cannot – a stay is warranted because “the

    outcome of the nonarbitrable claims will depend on the arbitrator’s decision.” Klay v. All

    Defendants, 389 F.3d 1191, 1203-04 (11th Cir. 2004); accord Petrik v. Reliant Pharmaceuticals,

    Inc., No. 8:07-cv-1462-T-24 TBM, 2007 WL 3283170, at *2, *3 (M.D. Fla. Nov. 5. 2007) (stay

    warranted where resolution of arbitrable issue “would appear” to resolve plaintiff’s claim);

    Volkswagen of America, Inc. v. Sud’s of Peoria, Inc., 474 F.3d 966, 972 (7th Cir. 2007) (stay

    warranted where arbitration may resolve, “or at least shed some light on,” the nonarbitrable

    claims).

           As explained above, Welt’s fraudulent transfer claim depends upon whether BDO failed

    to provide “reasonably equivalent value” for the fees it received from CMS. 11 U.S.C. § 548;

    Fla. Stat. § 762.105(1)(b). Welt contends that CMS “did not receive reasonably equivalent value

    in exchange for the payments made to BDO for it services” because, he alleges, BDO “failed in

    its duties” in conducting the CMS audits, and in particular, “did not adhere to GAAS and other

    applicable standards.” (Adv. Comp. ¶¶ 36-38.) The identical allegations are at the heart of



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    Welt’s professional negligence claims in the State Court Action, which is subject to a pending

    motion to compel arbitration. (Simon Decl., Ex. “3” ¶¶ 39-41, 45-46, 56-60.) Resolution of

    whether BDO breached its duties in conducting CMS audits in arbitration, accordingly, will

    resolve the core issue in this adversary proceeding, thus warranting a stay.

                                             CONCLUSION

           For all the foregoing reasons, the Court should order Welt to arbitrate the claim against

    BDO asserted in the Adversary Complaint and stay all discovery, or alternatively, stay this action

    pending resolution of Welt’s common law claims in arbitration.



    Dated: August 9, 2010                                Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

            I hereby certify that on August 9, 2010, I electronically filed the foregoing document with
    the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
    this day on all counsel of record or pro se parties identified on the Service List below, either via
    transmission of Notices of Electronic Filing generated by CM/ECF or by first class U.S. mail for
    those counsel or parties who are not authorized to receive electronically Notices of Electronic
    Filing.

                                                                 /s/ Ari Newman
                                                                 ARI NEWMAN




    Electronic Mail Notice List

    The following is the list of parties who are currently on the list to receive e-mail notice/service
    for this case.

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    Manual Notice List

    The following is the list of parties who are not on the list to receive e-mail notice/service for this
    case (who therefore require manual noticing/service).

       •   (No manual recipients)




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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
                                           Filed  FLSD Docket
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
                                           Filed  FLSD Docket
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
                                           Filed  FLSD Docket
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
                                           Filed  FLSD Docket
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
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Case 1:11-cv-20652-KAM   DocumentDoc
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
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                                      Entered  on08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
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                                           Filed  FLSD Docket
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Case 1:11-cv-20652-KAM   DocumentDoc
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Case 1:11-cv-20652-KAM   DocumentDoc
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Case 1:11-cv-20652-KAM   DocumentDoc
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Case 1:11-cv-20652-KAM   DocumentDoc
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
                                      Entered  on08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-2
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Case 1:11-cv-20652-KAM   DocumentDoc
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                                     Entered  on 08/09/10
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Case 1:11-cv-20652-KAM  DocumentDoc
              Case 10-03060-LMI 2-3 14-3
                                     Entered  on 08/09/10
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              Case 10-03060-LMI 2-3 14-3
                                     Entered  on 08/09/10
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Case 1:11-cv-20652-KAM  DocumentDoc
              Case 10-03060-LMI 2-3 14-3
                                     Entered  on 08/09/10
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Case 1:11-cv-20652-KAM  DocumentDoc
              Case 10-03060-LMI 2-3 14-3
                                     Entered  on 08/09/10
                                           Filed FLSD Docket 02/25/2011
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Case 1:11-cv-20652-KAM  DocumentDoc
              Case 10-03060-LMI 2-3 14-3
                                     Entered  on 08/09/10
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Case 1:11-cv-20652-KAM  DocumentDoc
              Case 10-03060-LMI 2-3 14-3
                                     Entered  on 08/09/10
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Case 1:11-cv-20652-KAM  DocumentDoc
              Case 10-03060-LMI 2-3 14-3
                                     Entered  on 08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-3
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                                           Filed  FLSD Docket
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Case 1:11-cv-20652-KAM   DocumentDoc
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                                      Entered  on08/09/10
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Case 1:11-cv-20652-KAM   DocumentDoc
              Case 10-03060-LMI   2-314-3
                                      Entered  on08/09/10
                                           Filed  FLSD Docket
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Case 1:11-cv-20652-KAM   DocumentDoc
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Case 1:11-cv-20652-KAM   DocumentDoc
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Case 1:11-cv-20652-KAM   DocumentDoc
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Case 1:11-cv-20652-KAM   DocumentDoc
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Form CGFCRD5A (9/19/08)

                              United States Bankruptcy Court
                                       Southern District of Florida
                                         www.flsb.uscourts.gov
Case Number: 08−19029−LMI                                                    Adversary Number: 10−03060−LMI

In re:
Name of Debtor(s): Cardiac Management Systems, Inc.
 −−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−/
Kenneth A. Welt
Plaintiff(s)
VS.

BDO Seidman, LLP
Defendant(s)
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−/

                                         NOTICE OF HEARING
NOTICE IS HEREBY GIVEN that a hearing will be held on August 27, 2010 at 10:30 AM, at the following
location:

Claude Pepper Federal Bldg
51 SW First Ave Room 1409
Miami FL 33130

to consider the following:

Motion to Compel Arbitration and to Stay Discovery, or in the alternative Motion To Stay (14)

THIS MATTER HAS BEEN SCHEDULED FOR A TEN MINUTE HEARING. IF YOU REQUIRE MORE
TIME YOU MUST CONTACT THE COURTROOM DEPUTY IMMEDIATELY FOR A SPECIAL SETTING.
This matter has not been scheduled as an evidentiary hearing. If you require an evidentiary hearing,
the currently scheduled hearing will be treated as a preliminary hearing. Contact the courtroom deputy,
Noemi Sanabria at (305) 714−1877 to schedule a final evidentiary hearing.

THE MOVANT, (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon. All
moving or objecting parties shall bring to the hearing proposed orders, sustaining their respective
positions. ALL PARTIES AND THEIR COUNSEL ARE EXPECTED TO REVIEW, AND COMPLY WITH,
JUDGE ISICOFF'S COURTROOM PROCEDURES, AVAILABLE ON THE COURT'S WEBSITE −
www.flsb.uscourts.gov

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are not permitted
in the courtroom, chambers or other environs of this court. These restrictions (except for cameras not
integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar identification card,
attorneys who have been authorized to appear by pro hac vice order and witnesses subpoenaed to appear
in a specific case. An attorney seeking entry to the Ft. Lauderdale courthouse facilities must also be
admitted to practice in the Southern District of Florida or be authorized to appear by pro hac vice order. No
one is permitted to bring a camera or other prohibited electronic device into a federal courthouse
facility except with a written order signed by a judge and verified by the United States Marshal's
Service. See Local Rule 5072−2.

Dated: 8/10/10                                        CLERK OF COURT
                                                      By: Noemi Sanabria
                                                      Deputy Clerk
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Form CGFCRD6A (9/19/08)

                              United States Bankruptcy Court
                                       Southern District of Florida
                                         www.flsb.uscourts.gov
Case Number: 08−19029−LMI                                                    Adversary Number: 10−03060−LMI

In re:
Name of Debtor(s): Cardiac Management Systems, Inc.
 −−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−/
Kenneth A. Welt
Plaintiff(s)
VS.

BDO Seidman, LLP
Defendant(s)
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−/

                                 AMENDED NOTICE OF HEARING
                                           Change In Time of Hearing

NOTICE IS HEREBY GIVEN that a hearing will be held on August 27, 2010 at 02:30 PM, at the following
location:

Claude Pepper Federal Bldg
51 SW First Ave Room 1409
Miami FL 33130

to consider the following:

Motion to Compel Arbitration and to Stay Discovery, or in the alternative Motion To Stay (Re: [1]
Complaint) Filed by Defendant BDO Seidman, LLP(14)

THIS MATTER HAS BEEN SCHEDULED FOR A TEN MINUTE HEARING. IF YOU REQUIRE MORE
TIME YOU MUST CONTACT THE COURTROOM DEPUTY IMMEDIATELY FOR A SPECIAL SETTING.
This matter has not been scheduled as an evidentiary hearing. If you require an evidentiary hearing,
the currently scheduled hearing will be treated as a preliminary hearing. Contact the courtroom deputy,
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THE MOVANT, (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
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attorneys who have been authorized to appear by pro hac vice order and witnesses subpoenaed to appear
in a specific case. An attorney seeking entry to the Ft. Lauderdale courthouse facilities must also be
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one is permitted to bring a camera or other prohibited electronic device into a federal courthouse
facility except with a written order signed by a judge and verified by the United States Marshal's
Service. See Local Rule 5072−2.

Dated: 8/23/10                                         CLERK OF COURT
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                                          By: Noemi Sanabria , Deputy Clerk
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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      (MIAMI DIVISION)
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   In re                                                CASE NO. 08-19029-BKC-LMI
                                                        CHAPTER 7
   CARDIAC MANAGEMENT SYSTEMS,                          (Jointly Administered)
   NC., et al.,

           Debtors.
                                                /

   KENNETH A. WELT, Chapter 7 Trustee                   ADV. CASE NO. 10-03060-LMI
   of the jointly administered estates of the
   Debtor, Cardiac Management Systems,
   Inc. and its affiliated debtors,

           Plaintiff,
   v.

   BDO SEIDMAN, LLP, a New York limited
   liability partnership,

         Defendant.
   ____________________________________/

    EX PARTE UNOPPOSED MOTION OF CHAPTER 7 TRUSTEE KENNETH A. WELT
       TO CONTINUE THE HEARING ON DEFENDANT’S MOTION TO COMPEL
         ARBITRATION AND TO STAY DISCOVERY, OR ALTERNATIVELY,
                TO STAY, CURRENTLY SET FOR AUGUST 27, 2010

           The Plaintiff, Kenneth A. Welt (the “Trustee”), not individually but in his capacity as the

   Chapter 7 trustee of the jointly administered debtors in the pending bankruptcy case of Cardiac

   Management Systems, Inc., et al., hereby files this ex parte unopposed motion to continue the

   hearing on Defendant BDO Seidman, LLP’s Motion to Compel Arbitration and to Stay

   Discovery, or Alternatively, to Stay [D.E. #14], which is currently set for Friday, August 27,

   2010, and says:

           1.      On May 24, 2010, the Trustee filed an Adversary Complaint for Damages and
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   Demand for Jury Trial against the Defendant, BDO Seidman, LLP (“BDO”), the former outside

   auditors for the Debtors [D.E. #1]. The Complaint alleges various acts and omissions committed

   by BDO, which the Trustee asserts have proximately caused damage to the Debtors.

            2.    On August 9, 2010, the Defendant filed BDO USA, LLP’s Motion to Compel

   Arbitration and to Stay Discovery, or Alternatively, to Stay (hereinafter, the “Motion”).

            3.    On August 10, 2010, the Motion was set for hearing on August 27, 2010 at 10:30

   a.m. [D.E. #15] and thereafter, on August 23, 2010, was re-set for hearing on August 27, 2010 at

   2:30 p.m. [D.E. #17] (hereinafter, the “Hearing”).

            4.    Lead special counsel for the Trustee, David C. Cimo, Esq., will be out of the State

   of Florida on an unrelated matter at the time of the Hearing. Understandably, because the issues

   to be addressed at the Hearing may potentially impact the future course of this case, Mr. Cimo

   wants to be present at the hearing and have the ability to meaningfully address the relief sought

   by BDO.

            5.    Undersigned counsel has conferred with counsel for BDO and confirmed that

   BDO has no objection to the instant motion or the relief sought herein. Undersigned counsel

   also confirmed that BDO’s counsel is available for hearing on the matter during the second week

   of October 2010. (The Trustee also filed a state court action against BDO to which BDO filed a

   similar motion to compel arbitration. It is anticipated that the hearing on that motion to compel

   arbitration will occur during the second week of October 2010).

            6.    Accordingly, the Trustee respectfully requests a continuance of the Hearing to a

   date during the second week of October 2010 (preferably, October 12, 2010 or October 14,

   2010).

            7.    A continuance of this Hearing has not yet been requested.




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            8.     This motion is made in good faith and is not being interposed for the purpose of

   delay.

            WHERFORE, the Trustee respectfully moves this Court for an order granting this ex

   parte, unopposed motion for a continuance of the Hearing on the Defendant’s Motion to Compel

   Arbitration and to Stay Discovery, or Alternatively, to Stay, currently set for August 27, 2010 at

   2:30 p.m., to a date preferably during the second week of October 2010.

            Respectfully submitted this 25th day August, 2010.

                                                I hereby certify that I am admitted to the Bar of the United States District
                                                Court for the Southern District of FL and I am in compliance with the
                                                additional qualifications to practice in this Court set forth in Local Rule
                                                2090-1(A).


                                                GENOVESE JOBLOVE & BATTISTA, P.A.
                                                Special Counsel for the Trustee
                                                100 S.E. Second Street, 44th Floor
                                                Miami, FL 33131
                                                Tel. (305) 349-2300
                                                Fax. (305) 349-2310

                                                By: s/David C. Cimo
                                                    David C. Cimo
                                                    Fla. Bar. No. 775400




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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served via e-mail

   and U.S. Mail on the below-named addressees this 25th day of August, 2010.

                               John B. Hutton, Esq.
                               Email: huttonj@gtlaw.com
                               D. Porpoise Evans, Esq.
                               Email: evansp@gtlaw.com
                               Greenberg Traurig, P.A.
                               1221 Brickell Avenue
                               Miami, Florida 33131
                               Tel. 305-579-0500


                                                       /s/ David C. Cimo
                                                           David C. Cimo




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                             UNITED STATES BANKRUPTCY COURT
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   In re                                            CASE NO. 08-19029-BKC-LMI
                                                    CHAPTER 7
   CARDIAC MANAGEMENT SYSTEMS,                      (Jointly Administered)
   NC., et al.,

           Debtors.
                                                /

   KENNETH A. WELT, Chapter 7 Trustee               ADV. CASE NO. 10-03060-LMI
   of the jointly administered estates of the
   Debtor, Cardiac Management Systems,
   Inc. and its affiliated debtors,

           Plaintiff,
   v.

   BDO SEIDMAN, LLP, a New York limited
   liability partnership,

         Defendant.
   ____________________________________/
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    ORDER GRANTING EX PARTE UNOPPOSED MOTION OF CHAPTER 7 TRUSTEE
    KENNETH A. WELT TO CONTINUE THE HEARING ON DEFENDANT’S MOTION
    TO COMPEL ARBITRATION AND TO STAY DISCOVERY, OR ALTERNATIVELY,
                TO STAY, CURRENTLY SET FOR AUGUST 27, 2010

          THIS MATTER came before the Court on the Ex Parte Unopposed Motion of Chapter 7

   Trustee Kenneth A. Welt to Continue the Hearing on Defendant’s Motion to Compel Arbitration

   and to Stay Discovery, or Alternatively, to Stay, Currently Set for August 27, 2010 [D.E. #__]

   (the “Motion”). The Court, having considered the Motion, the position of the parties, and being

   otherwise duly advised in the premises, finds and concludes that it is appropriate to grant the

   Motion. Accordingly, it is:

          ORDERED as follows:

          1.       The Motion is GRANTED.

          2.       The hearing on BDO USA, LLP’s Motion to Compel Arbitration and to Stay

   Discovery, or Alternatively, to Stay [D.E. #14] is rescheduled for _________________, 2010 at

   _________.      The hearing will be conducted at the United States Courthouse, Claude Pepper

   Federal Bldg., 51 SW First Ave Room 1409, Miami, Florida 33130.

   Submitted by:

   David C. Cimo, Esq.
   GENOVESE JOBLOVE & BATTISTA, P.A.
   Special Counsel for the Trustee
   100 S.E. Second Street, 44th Floor
   Miami, FL 33131
   Telephone: (305) 349-2300
   Facsimile: (305) 349-2310
   Email: dcimo@gjb-law.com

    (Attorney Cimo is directed to serve a copy of this Order on all parties entitled to service and to
   file with the Court a Certificate of Service).




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                              UNITED STATES BANKRUPTCY COURT
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                                       (MIAMI DIVISION)
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   In re                                                         CASE NO. 08-19029-BKC-LMI
                                                                 CHAPTER 7
   CARDIAC MANAGEMENT SYSTEMS,                                   (Jointly Administered)
   NC., et al.,

            Debtors.
                                                 /

   KENNETH A. WELT, Chapter 7 Trustee of                         ADV. CASE NO. 10-03060-LMI
   the jointly administered estates of the Debtor,
   Cardiac Management Systems, Inc. and its
   affiliated debtors,

            Plaintiff,

   v.

   BDO SEIDMAN, LLP, n/k/a BDO USA, LLP
   a New York limited liability partnership,

         Defendant.
   ____________________________________/

           PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
                   COMPEL ARBITRATION AND TO STAY DISCOVERY,
                        OR ALTERNATIVELY, TO STAY [D.E. #14]

            The Plaintiff, Kenneth A. Welt (the “Trustee”), not individually but in his capacity as the

   Chapter 7 trustee of the jointly administered debtors in the pending bankruptcy case of Cardiac

   Management Systems, Inc., et al., and through undersigned counsel, respectfully submits this

   response in opposition to BDO USA, LLP’s Motion to Compel Arbitration and to Stay Discovery,

   or Alternatively, to Stay [D.E. #14] (the “Motion”). For the reasons set forth below, the Motion

   should be denied in its entirety.
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                                        I.         Preliminary Statement

          This is an action in which the Trustee seeks to avoid and recover transfers and improperly

   incurred obligations made from and by the Debtor to the Defendant, BDO Seidman, LLP, n/k/a

   BDO USA, LLP (hereinafter, “BDO”) in the four years prior to the Petition Date purportedly for

   audit and accounting services rendered by BDO for, or on behalf of, the Debtor. The Trustee

   seeks to avoid the fraudulent transfers in accordance with Sections 544, and 548 of the

   Bankruptcy Code and Chapter 726 of the Florida Statutes, and to recover the same pursuant to

   Section 550 of the Bankruptcy Code.

          Pursuant to its authority to oversee the orderly and efficient administration of the

   Debtor’s bankruptcy estate and preserve potential assets for the benefit of the estate’s creditors,

   this Court has subject matter jurisdiction over the parties and the fraudulent transfer claim

   asserted by the Trustee. Nonetheless, BDO has moved to compel arbitration in this case under

   the provisions of the Federal Arbitration Act (the “FAA”) on the grounds that the Trustee is

   bound by the arbitration provisions contained in Engagement Agreements the Debtor entered

   into with BDO.

          Notably, however, the Trustee’s only claim in this case – avoidance and recovery of

   fraudulent transfers under 11 U.S.C. § 544, 548 and 550 – is a “core” claim under the

   Bankruptcy Code. Although BDO argues that the fact that the claim is a “core” claim under the

   Bankruptcy Code is, essentially, of no moment for purposes of compelling arbitration, BDO is

   wrong. To be sure, the claim in this case is not derivative from the Debtor under contract law.

   Rather, the claim arises directly under specific provisions of the Bankruptcy Code and exists

   within the exclusive province of federal bankruptcy law. Thus, the claim not only should not,

   but cannot, be arbitrated as a matter of law.
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                                 II.     Factual and Procedural Background

          In the Adversary Complaint for Damages and Demand for Jury Trial against BDO, the

   Trustee alleges that as a result of BDO’s acts and omissions in connection with its audits of the

   Debtor’s financial information, the Debtor’s financial condition was materially and substantially

   misstated and misrepresented leading to, at the very least, increased insolvency of the company.

          Based on BDO’s conduct, the Trustee alleges that the Debtor did not receive reasonably

   equivalent value in exchange for the payments made to BDO and seeks the avoidance and

   recovery of all such payments. Contrary to BDO’s argument, the Trustee’s allegations do not

   arise from, nor are they dependent on, BDO’s contractual obligations with the Debtor. To be

   sure, the Trustee makes only a passing reference in the Complaint to the Engagement

   Agreements entered into between BDO and the Debtor and alleges that the terms of the

   Agreements were materially unfavorable to the Debtor. Rather, the claim against BDO arises, in

   part, from BDO’s failure to comply with professional guidelines and standards, generally.

   Indeed, the allegations focus on BDO’s improper and flawed accounting methods and failure to

   conform to Generally Accepted Auditing Standards (“GAAS”) – standards not even referenced

   in the Engagement Agreements.

          Alternatively, the Trustee also seeks to avoid and recovery the transfers made to BDO

   based on the Debtor’s actual intent to hinder and delay creditors in making those payments.

   Notably, BDO wholly ignores this fact in its Motion – notwithstanding the fact that the Trustee

   devotes page after page to this issue in the Complaint. The Trustee submits that there is simply

   no rational basis (and none has been argued by BDO) for the compelled arbitration of the actual

   fraudulent transfer claim in this case.
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          Based on the arbitration provision contained in each of the Engagement Agreements

   attached to its Motion, BDO now seeks to compel the Trustee to arbitrate the fraudulent transfer

   claim. However, the Engagement Agreements were entered into between the Debtor and BDO –

   the Trustee was not a party to any of those Agreements. Indeed, the Trustee has not entered into

   any agreement to arbitrate the core claim in this case, and contests the applicability of the

   arbitration provision to this proceeding. Furthermore, each Engagement Agreements is for

   BDO’s audit of the Debtor’s consolidated balance sheet and related statements for the year then

   ending in September. Thus, each Engagement Agreement covers a one year period ending in the

   month of September. BDO attached three (3) Engagement Agreements to its Motion. It did not

   reference or attach agreements for the years ending September 2005 and September 2008. Thus,

   there is no even arguably applicable arbitration provision concerning BDO’s professional

   conduct from October 2004 – September 2005 or from October 2007 – September 2008 and

   BDO received transfers during these time periods..

                             III.    Legal Argument and Citation to Authority

          A.      This Court has subject matter jurisdiction over the claim in this case.

          By arguing that arbitration is “required” in this case, BDO is essentially challenging the

   subject matter jurisdiction of this Court. Undoubtedly, however, this Court has subject matter

   jurisdiction over the fraudulent transfer claim under 28 U.S.C. § 1334. Section 1334 provides

   that “Bankruptcy judges may hear and determine all cases under title 11 and all core proceedings

   arising under title 11, or arising in a case under title 11, referred to under subsection (a) of this

   section ….” 28 U.S.C. § 1334(b)(1). It is well-settled that bankruptcy courts have jurisdiction

   over core (and non-core related) bankruptcy proceedings. See, e.g., Matter of Wood, 825 F.2d

   90, 92 (5th Cir. 1987); Halper v. Halper, 164 F.3d 830, 835 (3d Cir. 1999). Section 157 of the
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   Bankruptcy Code provides a non-exhaustive list of “core proceedings.” 28 U.S.C. § 157. The

   Fifth Circuit has clarified that “[a] proceeding is core under section 157 if it invokes a

   substantive right provided by Title 11 or if it is a proceeding that, by its nature, could arise only

   in the context of a bankruptcy case.” Wood, 825 F.2d at 97.

          Here, the Trustee’s fraudulent transfer claim is unquestionably a core proceeding arising

   under the Bankruptcy Code. See 28 U.S.C. § 157(2)(A) (“matters concerning the administration

   of the estate”) and 157(2)(H) (“proceedings to determine, avoid, or recover fraudulent

   conveyances”). The fraudulent transfer claim clearly meets the disjunctive two-prong test set

   forth in Wood as it invokes substantive rights provided by Title 11 or could arise only in the

   context of a bankruptcy case. Because this action arises out of a claim that is specifically

   available to the Trustee under the Bankruptcy Code, the claim is related to the administration of

   the estate and the Court has subject matter jurisdiction.

          B.      The fraudulent transfer claim is not subject to arbitration.

          Notwithstanding the Court’s jurisdiction over the claim in this case, BDO asserts that the

   Court is required by the FAA to send this case to arbitration. BDO is wrong. Most importantly,

   it is undisputed that the Trustee has not entered into any arbitration agreement with BDO.

   Further, even assuming the purported validity of the arbitration provisions in the Engagement

   Agreements entered into between the Debtor and BDO, the Trustee is not required to arbitrate his

   core bankruptcy claim.

          The arbitration provision at issue in this case essentially provides for the arbitration of

   “any dispute, controversy, or claim [that] arises in connection with the performance or breach of

   th[e] [services] agreement (including disputes regarding the validity and enforceability of this

   agreement)….” Although this provision is extremely encompassing, its breath is not unlimited
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   to necessarily include core bankruptcy claims. Furthermore, as set forth above, there is no

   agreement – and accordingly no arbitration provision – even arguably covering BDO’s conduct

   from October 2005 – September 2005 or from October 2007 – September 2008. In sum, the

   arbitration provision that is at issue does not require arbitration of the specific bankruptcy claim

   asserted by the Trustee in this case.

          For example, in Hays & Co. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 885 F.2d

   1149 (3d Cir. 1989), a securities broker moved to compel arbitration of claims brought by a

   Chapter 11 bankruptcy trustee for violations of various federal and state securities laws, as well

   as for fraudulent conveyance and constructive trust under 11 U.S.C. §544(b). Id. at 1149. The

   lower court compelled arbitration of the securities claims, but found that the two bankruptcy

   claims brought under section 544(b) were not subject to arbitration because they were not

   derivative of the debtor. Id. at 1155. In affirming, the Third Circuit specifically found that the

   trustee – and the creditors that the trustee represented – were not required to arbitrate the core

   claims because:

                  [Such claims] are not derivative of the bankrupt. They are creditor
                  claims that the [Bankruptcy] Code authorizes the Trustee to assert
                  on their behalf. The Supreme Court has made it clear that it is the
                  parties to an arbitration agreement who are bound by, it and whose
                  intentions must be carried out. Thus there is no justification for
                  binding creditors to an arbitration clause with respect to claims that
                  are not derivative from one who was a party to it. It follows that
                  the Trustee cannot be required to arbitrate its section 544(b) claims
                  and that the district court was not obligated to stay them pending
                  arbitration.

   Id. (emphasis in original). Other courts have agreed with the Hays analysis and have similarly

   held that core claims are generally not arbitrable. See also, In re Hagerstown Fiber Limited

   P’ship v. Landegger, 277 B.R. 181, 210 (Bankr. S.D.N.Y. 2002) (holding that fraudulent transfer

   claims asserted by a trustee were not arbitrable, as “the Debtor’s contractual rights cannot limit
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   the trustee’s more extensive statutory powers to perform his duties”); In re Oakwood Homes

   Corp., No. 02-13396PJW, Adv. No. 04-56928PBL, 2005 WL 670310 at *4 (Bankr. D. Del. Mar.

   18, 2005) (fraudulent conveyance claims under the Bankruptcy Code are creatures of statute,

   available in bankruptcy to a trustee solely for the benefit of creditors of the debtor, and, as such,

   are not arbitrable); Pardo v. Pacificare of Tex., Inc. (In re APF Co.), 264 B.R. 344, 363 (Bankr.

   D. Del. 2001) (holding that preferential transfer claims brought under section 547 are not

   arbitrable); In the Matter of National Gypsum Company, 118 F.3d 1056 (5th Cir. 1997) (core

   declaratory judgment action by debtor against liability insurer to collect pre-confirmation debts is

   not arbitrable); In re Mintze, 288 B.R. 95 (Bankr. E.D. Pa. 2003) (core proceeding to determine

   validity, priority and extent of lien is not arbitrable).

           This Court can and should exercise its discretion to deny BDO’s Motion on the grounds

   that compelling arbitration in this case would conflict with the underlying purposes of the

   Bankruptcy Code. See McMahon, 482 U.S. at 225-26; Durango Georgia Paper, 309B.R. at 401.

   In McMahon, the United States Supreme Court recognized that despite the “federal policy

   favoring arbitration,” that policy, at times, must be “overridden by a contrary congressional

   command.” 482 U.S. at 226. The Court then proceeded to formulate a disjunctive three-part test

   to determine when a mandate to arbitrate may be overridden: “If Congress did intend to limit or

   prohibit waiver of a judicial forum for a particular claim, such an intent will be deducible from

   the statute’s text, or legislative history, or from an inherent conflict between arbitration and the

   statute’s underlying purposes.” Id. at 227.

           Here, there are inherent conflicts between the FAA and the Bankruptcy Code with respect

   to the claim at issue in this case. The question of whether and when a bankruptcy court may

   exercise its discretion to deny enforcement of an otherwise applicable arbitration clause under
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   the McMahon test has been addressed most recently in Brown v. Mortgage Electronic Systems,

   Inc., 354 B.R. 591 (D.R.I. 2006), which noted that

                  [t]he proper resolution of this question requires the Court to weigh
                  competing statutory directives and implicates important principles
                  regarding the relationship between the FAA, which requires
                  enforcement of arbitration agreements, and the Bankruptcy Code,
                  which centralizes disputes into a single forum and allows for the
                  waiver of alternative dispute fora.

   Id. at 594.

           In Brown, the district court was presented with the question of whether the bankruptcy

   court acted properly in denying a motion to compel arbitration of a Chapter 13 debtor’s

   adversary proceeding against the debtor’s mortgagee and bank seeking rescission of the debtor’s

   loan consolidation agreement based on violations of the federal Truth in Lending Act (“TILA”).

   In holding that the Bankruptcy Court did not abuse its discretion in denying defendants’ motion

   to compel arbitration, the court first discussed the “competing principles” that framed the

   inquiry. “On the one hand,” the Brown court observed, the FAA “was intended to reverse

   centuries of judicial hostility to arbitration agreements by placing arbitration agreements upon

   the same footing as other contracts.” Id. (citing McMahon, 482 U.S. at 225-26). On the other

   hand, the Bankruptcy Code “offers a counter imperative” given that “[t]he very purpose of

   bankruptcy is to modify the rights of debtors and creditors.” Id. Indeed, as the Court further

   observed, in contrast to the decentralizing impact of arbitration, “one of the core goals of

   bankruptcy is to centralize all disputes concerning the property of the debtor’s estate.” Id. at 595

   (citing Shugrue v. Airline Pilots Ass’n Int’l, 922 F.2d 984, 989 (2d Cir. 1990) and Societe

   Nationale Algerienne Pour La Recherche, La Production, Le Transport, La Transformation et

   La Commercialisation des Hydrocarbures v. Distrigas Corp, 80 B.R. 606, 610 (D. Mass. 1987)).
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          Characterizing this as a potential “conflict of polar extremes,” the Brown court went on to

   observe that different courts have used different analyses leading to different results in applying

   the McMahon test. Id. at 595-599 (citations omitted). Seeking to harmonize the recent case law

   or alternatively to determine the most appropriate approach, the Brown court then proceeded to

   review three different approaches taken in three recent appellate decisions.

          Brown first considered the Fourth Circuit’s analysis in In re White Mountain Mining Co.,

   L.L.G., 403 F.3d 164 (4th Cir. 2005), where the underlying conflict concerned core claims

   seeking to determine whether pre-petition cash advances were debt or equity. In that case, the

   Fourth Circuit applied the McMahon framework and found an inherent conflict between the

   Bankruptcy Code’s intent to “centralize disputes about a debtor’s assets and legal obligations”

   and the FAA’s policy favoring arbitration. Brown, 354 B.R. at 596-97 (citing In re White

   Mountain, 403 F.3d at 169). The court affirmed the rulings of the lower court declining to

   compel arbitration. As Brown explained the Fourth Circuit’s holding by its recognition that

                  “the very purpose of bankruptcy is to modify the rights of debtors
                  and creditors,” and that “Congress intended to centralize disputes
                  about a debtor’s assets and legal obligations in the bankruptcy
                  courts.” Contrasting this with arbitration, the [Fourth Circuit]
                  reasoned that “permitting an arbitrator to decide a core issue”
                  would frustrate the goal of bankruptcy to centralize decision-
                  making.

   Brown, 354 B.R. at 596 (quoting White Mountain, 403 F.3d at 169-170).

          Brown next considered the Third Circuit’s decision in Mintze v. American Gen. Fin.

   Servs. (In re Mintze), 434 F.3d 222 (3d Cir. 2006). In Mintze – a case, like Brown, that involved

   “core” federal TILA claims but no claims created under the Bankruptcy Code – the court

   declined to rely on the distinction between core and non-core claims. Instead, the Third Circuit

   found that “nonenforcement of an otherwise applicable arbitration provision turns on the

   underlying nature of the proceedings, i.e., whether the proceeding derives exclusively from the
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   provisions of the Bankruptcy Code and, if so, whether the arbitration proceeding would conflict

   with the purposes of the Code.” Brown, 354 B.R. at 597 (quoting Mintze, 434 F.3d at 231).

   Because the claims at issue in Mintze were exclusively TILA based claims, the court did not find

   any conflict between the FAA and the “statutory rights” at issue in that case, i.e., between the

   purposes of the FAA and the purposes of TILA. In sum, “because the ‘statutory claims’ raised

   by the debtor arose from TILA rather than any statutory right created by the Bankruptcy Code,

   there could be no inherent conflict between the Bankruptcy Code and the FAA.” Brown, 354

   B.R. at 599 (citing Mintze, 434 F.3d at 231).

          Finally, Brown reviewed the Second Circuit’s decision in MBNA America Bank N.A. v.

   Hill, 436 F.3d 104 (2d Cir. 2006), which involved a debtor’s filing of a putative class action

   based upon certain events that occurred during her bankruptcy proceeding. Brown, 354 B.R. at

   597-598. There, the Second Circuit agreed that “bankruptcy courts are more likely to have

   discretion to refuse to compel arbitration of core bankruptcy matters” because they “implicate

   more pressing bankruptcy concerns,” but nonetheless declined to establish a “bright line” rule

   that core bankruptcy matters will always confer such discretion. Instead, the court required “a

   particularized inquiry into the nature of the claim and the facts of the specific bankruptcy.”

   Brown, 354 B.R. at 598 (citing Hill, 436 F.3d at 108). Turning to the specific facts in Hill,

   including the fact that administration of the debtor’s estate was complete and that the claim was

   brought as a putative class action that sharply diminished any direct connection to the estate at

   issue, Hill held that the claims should be arbitrated. Hill, 436 F.3d at 109.

          The Brown court then attempted to reconcile the disparate results obtained through

   application of the McMahon analysis and found that the “divergent outcomes” could be

   explained by “a misperception of the nature of arbitration agreements and the function of the
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   FAA in enforcing such agreements.” Brown, 354 B.R. at 600. Noting that arbitration agreements

   are comparable to “contractual choice-of-forum provisions” or, alternatively, “a specialized kind

   of forum selection clause,” Brown went on to find that Mintze and Hill “undermine[] the well-

   settled intent of the FAA to place arbitration agreements on the same footing as other contracts

   and elevate[] arbitration agreements over and above other analogous forum selection

   agreements” Brown, 354 B.R. at 601. Instead, as Brown further explained, “forum selection

   clauses in core contract proceedings are not uniformly enforceable because such enforcement

   would undermine the goal of centralizing bankruptcy proceedings.” Id. at 602 (citing N. Parent,

   Inc. v. Cotter & Co (In re Parent, Inc.), 221 B.R. 609, 622 (Bankr. D. Mass. 1998) (collecting

   cases)). See also Prima Paint Corp. v. Floyd & Conklin Mfg. Co., 388 U.S. 395, 404 n.l2 (1967)

   (purpose of FAA is “to make arbitration agreements as enforceable as other contracts, but not

   more so”) (emphasis added).

           Ultimately, the Brown court resolved its inquiry by holding that the approach adopted by

   the Fourth Circuit in White Mountain “best applies the [McMahon] framework,” and that “a

   bankruptcy court retains discretion to decide whether and when to compel arbitration if the at-

   issue proceeding” is core.” Id. at 602-03. Therefore, even though the core claim at issue in

   Brown was predicated on the debtor’s statutory rights under TILA rather than on a trustee’s

   statutory rights under the Bankruptcy Code (such as rights to bring fraudulent conveyance claims

   under the Bankruptcy Code), Brown upheld the decision of the bankruptcy judge on the grounds

   that “compelling in this case would be inconsistent with the purpose of the bankruptcy laws to

   centralize disputes about a debtor’s legal obligations so that reorganization can proceed

   efficiently.”

           The comprehensive analysis in Brown confirms that where, as here, there are only core
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   claims which derive directly from the Bankruptcy Code that effectively seek to adjust the rights

   of creditors and where the bankruptcy process is in its infancy and still ongoing, this Court has

   more than ample discretion to find an inherent and direct conflict in this case between the FAA’s

   interest in arbitration and the Bankruptcy Code’s interest in adjusting the rights of the bankruptcy

   estate’s creditors under the Bankruptcy Code and in centralizing all such disputes into one forum

   sufficient to warrant retention of jurisdiction by the Court in this case.

          Accordingly, this Court should use its discretion and deny BDO’s motion to compel

   arbitration of the fraudulent transfer claim in this case.

          C.      The Defendant’s request for stay of this proceeding pending arbitration
                  of the State Court Action should also be denied.

          BDO’s argument for a stay of this proceeding falls on a number of fronts. First, BDO’s

   argument is premised on the entry of an order compelling arbitration in the State Court Action –

   an order which has not, and may never, come to pass. Although a motion to compel arbitration

   has been filed in the State Court Action – and notwithstanding BDO’s optimism with respect to

   the disposition of that motion – whether the State Court will rule in BDO’s favor and when such

   a ruling will be issued, remains to be seen. The Trustee should not be made to wait on a day that

   may never come.

          Second, BDO’s argument that a stay is warranted because “the outcome of [this

   proceeding] will depend on the arbitrator’s decision [in the State Court Action]” is completely

   erroneous.   Notably, courts generally stay proceedings of non-arbitrable claims when it is

   feasible to proceed with the litigation and allow the arbitration and the lawsuit to each proceed in

   its normal course. See, e.g., Klay v. All Defendants, 389 F.3d 1191, 1204 (11th Cir. 2004).

   Crucial to this determination is “whether the outcome of the non-arbitrable claims will depend

   upon the arbitrator’s decisions.” Id. Here, the Trustee’s ability to prove “reasonable equivalent
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   value” for purposes of the constructive fraudulent transfer claim is not dependent on whether an

   arbitrator determines that BDO is liable for professional negligence. (This is especially true in

   light of the fact that the Trustee will ultimately be entitled to discovery – an avenue of

   exploration typically not permitted in an arbitration proceeding.)

          Further, even assuming there is a meaningful correlation between a the Trustee’s ability

   to prove BDO’s failure to provide “reasonably equivalent value” and an arbitrator’s finding of

   liability for “professional negligence”, BDO has completely ignored the fact that the Trustee has

   also alleged actual fraudulent transfer claims in this case. The Trustee’s ability to show that the

   Debtor intended to hinder or delay creditors in making payments to BDO will by no means be

   affected by an arbitrator’s finding of whether BDO committed professional negligence.

          Based on the foregoing, BDO’s request for a stay of this proceeding pending the final

   resolution of any arbitration that may (or may not) be directed by the State Court, should be

   denied. See 11 U.S.C. § 105(a) (“court may issue any order, process or judgment that is

   necessary or appropriate to carry out the provisions of th[e] [Code]”).

                                               IV.     Conclusion

          As set forth above, this Court has exclusive jurisdiction over the fraudulent transfer claim

   at issue in this case as the claim is not derivative from the Debtor and therefore is not subject to

   arbitration under any scenario. Furthermore, this Court should deny BDO’s request to stay this

   proceeding. The fraudulent transfer claim should be adjudicated on the merits without delay by

   this Court. Moreover, if the parties are compelled to arbitrate in the State Court Action, it is that

   proceeding that should be stayed pending the conclusion of a trial in this case. Accordingly, the

   Trustee respectfully requests the entry of an Order denying the Motion in its entirety.

   Respectfully submitted this 14th day October, 2010.
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                                              I hereby certify that I am admitted to the Bar of the United States District
                                              Court for the Southern District of FL and I am in compliance with the
                                              additional qualifications to practice in this Court set forth in Local Rule
                                              2090-1(A).


                                              GENOVESE JOBLOVE & BATTISTA, P.A.
                                              Special Counsel for the Trustee
                                              100 S.E. Second Street, 44th Floor
                                              Miami, FL 33131
                                              Tel. (305) 349-2300
                                              Fax. (305) 349-2310

                                              By: /s/ David Cimo
                                                  David C. Cimo
                                                  Fla. Bar. No. 775400



                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served via e-mail

   and U.S. Mail on the below-named addressees this 14th day of October, 2010.

                               John B. Hutton, Esq.
                               Email: huttonj@gtlaw.com
                               D. Porpoise Evans, Esq.
                               Email: evansp@gtlaw.com
                               Greenberg Traurig, P.A.
                               1221 Brickell Avenue
                               Miami, Florida 33131
                               Tel. 305-579-0500


                                                           /s/ David C. Cimo
                                                               David C. Cimo
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       ORDERED in the Southern District of Florida on November 01, 2010.



                                                                 Laurel M. Isicoff, Judge
                                                             United States Bankruptcy Court
_____________________________________________________________________________


                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          (MIAMI DIVISION)
                                         www.flsb.uscourts.gov

        In re:                                            Chapter 7

        CARDIAC MANAGEMENT SYSTEMS, INC.                  Case No. 08-19029-BKC-LMI
                                                          (Jointly Administered)
                                Debtor.
        _______________________________________/

        KENNETH A. WELT, Chapter 7 Trustee
        of the jointly administered estates of the
        Debtor, Cardiac Management Systems,
        Inc. and its affiliated debtors,

                                             Plaintiff,
        v.                                                Adv. Pro. No. 10-03060-LMI

        BDO SEIDMAN, LLP, n/k/a BDO USA, LLP,
        a New York limited liability partnership,

                                      Defendant.
        ________________________________________/

                     ORDER GRANTING BDO USA, LLP’S MOTION TO COMPEL
                           ARBITRATION AND TO STAY DISCOVERY
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           THIS CAUSE came before the Court on October 18, 2010, at 3:00 p.m., on BDO USA,

   LLP’s Motion to Compel Arbitration and to Stay Discovery, Or Alternatively, to Stay [D.E. 14]

   (the “Motion”).       The Court having heard argument of counsel, being duly advised in the

   premises, and for the reasons stated on the record, it is hereby ordered and adjudged:

           1.       The Motion is granted.

           2.       The parties shall participate in arbitration pursuant to the terms of the Engagement

   Agreements (as defined in the Motion).

           3.       This adversary proceeding is stayed, pending the conclusion of the arbitration. If

   the arbitrators decline to address any of the legal claims in this adversary proceeding, the parties

   may thereafter proceed with the litigation of any remaining issues in this Court, and any factual

   or legal issues determined by the arbitrators shall have preclusive effect, by application of res

   judicata and collateral estoppel.

                                                        ###

   Submitted by and copies to be furnished to:

   John B. Hutton, Esq.
   GREENBERG TRAURIG, P.A.
   Attorneys for BDO Seidman, LLP n/k/a
   BDO USA, LLP
   1221 Brickell Avenue
   Miami, Florida 33131
   huttonj@gtlaw.com
   Fax: (305) 579-0717

   [Attorney Hutton is hereby directed to serve a conformed copy of this Order immediately upon
   receipt of same on all interested parties and to file a certificate of service with the Court.]
   NY 240,679,055v2 10-21-10




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 1                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
 2
                                    Judge Laurel M. Isicoff
 3
 4     IN RE:
 5     CARDIAC MANAGEMENT SYSTEMS, CASE NO: 08-19029-BKC-LMI
               Debtor.
 6     _________________________ /
 7     KENNETH A. WELT,              CASE NO: 10-3060-BKC-LMI
               Plaintiff,
 8     vs
       BDO SEIDMAN, LLP,
 9             Defendant.
       ___________________________ /
10
11               MOTION TO COMPEL ARBITRATION AND TO STAY
                 DISCOVERY, OR IN THE ALTERNATIVE MOTION TO
12               STAY (14)
13
                                  OCTOBER 18, 2010
14
15
16             The above-entitled cause came on for hearing
17     before the HONORABLE LAUREL M. ISICOFF, one of the
18     judges in the UNITED STATES BANKRUPTCY COURT, in and
19     for the SOUTHERN DISTRICT OF FLORIDA AT LARGE, at 51
20     SW 1st Avenue, Miami, Dade County, Florida, commencing
21     at or about 3:00 p.m., on October 18th, 2010, and the
22     following proceedings were had:
23
24                           Reported by: Carmen E. De La Cruz
25


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 1                           APPEARANCES:
 2                     GENOVESE JOBLOVE & BATTISTA, P.A., by
                       DAVID C. CIMO, Esquire
 3                     On behalf of Kenneth A. Welt, Plaintiff.
 4
                       GREENBERG TRAURIG, by
 5                     JOHN B. HUTTON, Esquire
                       On behalf of BDO Seidman, LLP, Defendant.
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 1                    THE COURT:      Okay.     Cardiac.     Welt versus
 2     BDO Seidman.      I will take appearances starting, I
 3     guess, with Mr. Hutton since he's up at the podium.
 4                    MR. HUTTON:      Thank you, Your Honor.
 5     John Hutton on behalf of Defendant, BDO.
 6                    MR. CIMO:      Your Honor, David Cimo from
 7     Genovese Joblove & Battista on behalf of the
 8     Plaintiff, Chapter 7 Trustee, Kenneth Welt.
 9                    THE COURT:      Okay.     All right.      So I have
10     reviewed the complaint, I have reviewed the motion to
11     compel arbitration, I have reviewed the plaintiff's
12     response and I have reviewed various and sundry cases
13     that were cited by the parties in their papers.
14                    So, Mr. Hutton, since this is your motion
15     I'll ask you if there's anything you'd like to add or
16     repeat or highlight or pound into my head in case I
17     didn't understand it from your motion before I start
18     asking you the questions that I have?
19                    MR. HUTTON:      Certainly, Your Honor.          We
20     believe that the issue before the Court is whether
21     this lawsuit by the Trustee, asserting that BDO failed
22     to conduct audits in accordance with general accepted
23     -- generally accepted accounting standards in the
24     United States as a representative that it would do in
25     the engagement letters is subject to arbitration as


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 1     provided in those engagement letters.
 2                    We believe this is essentially a breach of
 3     contract and professional negligence claim that is
 4     cast as a fraudulent transfer claim, by alleging that
 5     because BDO failed to conduct a proper audit, the
 6     $215,000 in fees that it was paid over four years was
 7     a fraudulent transfer.         In other words, because it was
 8     a bad audit or there were bad audits over the four
 9     year period, that the debtor did not, Cardiac
10     Management Services, did not receive reasonably
11     equivalent value.
12                    The -- we would point out to the Court and
13     I want to highlight that the arbitration clause in the
14     litigation -- in the engagement letters before the
15     Court is very broad and provides that any claims
16     relating to BDO's audits are required to be resolved
17     in arbitration.       It's the arbitration provision that
18     the trustee admits in his response on Page 5 is very
19     broad.    And although we believe the trustee has
20     attempted to draft around the arbitration agreement by
21     attaching a fraudulent transfer label to his
22     allegations, the -- we believe the trustee's equitably
23     estopped from objecting to arbitration because his
24     claims are based upon the auditing services BDO
25     provided pursuant to those very same engagement


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 1     agreements, including whether BDO conducted audits
 2     that failed to meet professional standards, and
 3     whether the trustee is entitled to a refund of the
 4     fees paid as a result.
 5                    Your Honor, we point out that the
 6     equitable estoppel argument is not even addressed by
 7     the trustee in the response, but it is a doctrine that
 8     applies here both under recent Supreme Court authority
 9     and under Eleventh Circuit authority.               And we think
10     the doctrine does require these claims be arbitrated.
11                    THE COURT:      Okay.
12                    MR. HUTTON:      I wanted to highlight some of
13     the procedural history of this case because I think
14     it's also important here.          As alleged in the
15     complaint, CMS filed bankruptcy Chapter 11 on June
16     30th, of 2008.
17                    THE COURT:      Uh-huh.
18                    MR. HUTTON:      That's about two years and
19     four months ago.
20                    THE COURT:      Uh-huh.
21                    MR. HUTTON:      On October 20th, of 2008
22     Cardiac sold substantially all of its assets pursuant
23     to a Section 363 sale, that's almost two years ago to
24     the day.
25                    THE COURT:      Uh-huh.


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 1                    MR. HUTTON:      And on November 13th, of 2008
 2     the case was converted to Chapter 7, and Welt was
 3     appointed as trustee just under two years ago.                 So
 4     this case is certainly not in its infancy as suggested
 5     by the trustee, and all of the assets were sold two
 6     years ago.     And then about a year and a half after
 7     Welt was appointed, on May 13th Welt sued BDO in State
 8     Court and we've attached a copy of that amended
 9     complaint as I think it's Exhibit 2, to our motion.
10                    THE COURT:      Uh-huh.
11                    MR. HUTTON:      And I wanted to focus on that
12     because the allegations in that amended complaint in
13     the State Court are virtually identical to the factual
14     allegations made in the adversary complaint in this
15     Court to support the fraudulent transfer theories.
16     That is, in particular, the allegations that are
17     contained in the State Court pleading, the heart of
18     the pleading, in Paragraphs 39 to 46(j), that those
19     are the allegations pursuant to which the trustee
20     alleges in the State Court that BDO alleges what the
21     alleged duties of BDO were under the engagement
22     agreements and what omissions were allegedly committed
23     by BDO.
24                    On June 2nd of 2010, BDO moved to compel
25     arbitration in State Court and that is scheduled to be


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 1     heard by the State Court on November 1st.
 2                    THE COURT:      Uh-huh.
 3                    MR. HUTTON:      After commencing the State
 4     Court action on May 13th, and by the way, the State
 5     Court action based upon those same allegations that
 6     are asserted here --
 7                    THE COURT:      Uh-huh.
 8                    MR. HUTTON:      -- a failure to comply with
 9     GAAS, based upon the same allegations the trustee
10     asserts in the State Court theories of professional
11     negligence and aiding and abetting a breach of
12     fiduciary duty by the officers of CMS, and the trustee
13     seeks $6 million in damages, including the $215,000 in
14     fees that it seeks in this adversary complaint in this
15     Court, and that's in Paragraph 65 of the amended
16     complaint in the State Court.            And the -- and after
17     commencing that State Court action back on May 13th of
18     this year, 11 days later the trustee commenced the
19     adversary complaint in this Court on May 24th, of
20     2010.
21                    As I noted, the main allegations that
22     support the State Court action are repeated verbatim
23     in this adversary proceeding.            If Your Honor compares
24     Paragraphs 39 to 46(j) in the State Court complaint
25     with Paragraphs 30 to 37(j) in the adversary


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 1     complaint, you'll see that they're identical.
 2                    And again, the trustee alleges that BDO
 3     was retained to conduct audits for CMS, that BDO
 4     represented in engagement letters that it would
 5     conduct audits in accordance with generally accepted
 6     accounting standards and that BDO's audits did not
 7     comply with those professional standards.
 8                    Another interesting procedural step I
 9     wanted to highlight is that as part of the adversary
10     complaint that was filed in this Court, the trustee
11     asserted a jury trial demand.            And the very same day
12     that the adversary complaint was filed, the trustee
13     moved to withdraw the reference based on jury trial
14     demand and the trustee noted in that motion to
15     withdraw reference that he was not consenting to a
16     jury trial in the Bankruptcy Court.
17                    And, in fact, if you look at the motion to
18     withdraw reference that was filed here, the trustee
19     actually, I think, mistakenly mischaracterizes the
20     claims that are asserted in this case as professional
21     negligence and aiding and abetting.              He recognized it
22     as a mistake, but I think it does highlight the fact
23     that there is substantial overlap and a substantial
24     identity of the factual allegations that are made so
25     it was easy for the trustee to make that mistake.                 And


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 1     we do think that at its heart, the claims in this
 2     adversary proceeding are in the nature of breach of
 3     contract and fraudulent -- and professional negligence
 4     claims.
 5                    Of course, the District Court shortly
 6     thereafter remanded back to this Court for pretrial
 7     proceedings as is customary.
 8                    THE COURT:      Uh-huh.
 9                    MR. HUTTON:      But the point here is that
10     this case will not be tried in this Court in any
11     event.
12                    THE COURT:      Uh-huh.
13                    MR. HUTTON:      And I think that's relevant
14     when we get later to the McMahon factors and the
15     Electric Machinery factors.           Insofar as one of the
16     purposes or the goals of the Bankruptcy Code is
17     consolidation of proceedings in one forum.                   This case
18     is not going to be tried in the Bankruptcy Court in
19     any event.
20                    THE COURT:      Well, we're just a unit of the
21     District Court, Mr. Hutton.           So, it's just venue not
22     jurisdiction; right?
23                    MR. HUTTON:      No, but it is -- I think when
24     the cases talk about consolidation in one forum, they
25     talk about the specialized expertise that the


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 1     Bankruptcy Court has to deal with bankruptcy issues on
 2     an everyday basis.
 3                     THE COURT:      Who is your judge?
 4                     MR. HUTTON:      Pardon?
 5                     THE COURT:      Who is the judge in the
 6     District Court?
 7                     MR. HUTTON:      In this case that decided and
 8     remanded, it was Cecilia Altonaga.
 9                     THE COURT:      I see she closed the case.
10                     MR. HUTTON:      Yes, she closed it.
11                     THE COURT:      Uh-huh.
12                     MR. HUTTON:      I don't know that if
13     ultimately if this Court doesn't send this case to
14     arbitration and keeps the case whether it goes
15     ultimately to her or some other judge.
16                     THE COURT:      Right.
17                     MR. HUTTON:      I don't know.
18                     THE COURT:      Well, I'll give you a hint.
19     If it does go back to her, she says that unless you
20     stand before her and say we're ready to pick the
21     trial, she sends it back to Bankruptcy Court.                 So,
22     don't have any pretrial motions left.
23                     Okay.    So you -- but let me ask you
24     something, in terms of the focus of the proper
25     exercise by the Bankruptcy Court, the proper deference


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 1     of the Court to the FAA --
 2                     MR. HUTTON:      Uh-huh.
 3                     THE COURT:      -- does it matter whether the
 4     bankruptcy jurisdiction is being exercised by the
 5     District Court or the Bankruptcy Court?                Should it
 6     make a difference?        If the focus is on the tension
 7     between the Bankruptcy Code and the FAA, should it
 8     make a difference which judge is hearing the case?
 9                     MR. HUTTON:      I think insofar -- again,
10     this goes to the trustee's argument about there being
11     an inherent conflict between sending this case to
12     arbitration and goals and purposes of the Bankruptcy
13     Code.
14                     THE COURT:      Right, but I'm saying if the
15     goals and the purposes of the Bankruptcy Code, are you
16     suggesting that the District Court is not as well
17     versed in the bankruptcy -- well, are you suggesting
18     that ostensibly the District Court is not as well
19     versed in the Bankruptcy Code or its ability to
20     enforce the purposes of the Bankruptcy Code as is the
21     Bankruptcy Court?
22                     MR. HUTTON:      No.    What I'm suggesting,
23     Your Honor, is I think when the cases focus on -- and
24     quite candidly, I've not seen a case expressly address
25     the issue to withdraw of reference or District Court


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 1     familiarity.      Usually as I've seen it focuses on the
 2     familiarity of the Bankruptcy Court with bankruptcy
 3     issues.
 4                     THE COURT:      Right, but the focus is not
 5     the familiarity of the Court.             The focus is the
 6     purpose of the Bankruptcy Code and whether that
 7     purpose is being realized through the Bankruptcy
 8     Court, the District Court or the Circuit Court.                  We
 9     focus on the purposes, not the Court itself; correct?
10                     MR. HUTTON:      Well, I think the Court -- in
11     my view, the Court does matter in the fact that this
12     is not going to be heard and consolidated in the
13     Bankruptcy Court.        That's just one factor, but I think
14     insofar as --
15                     THE COURT:      But there are really only two
16     factors that the Eleventh Circuit tells us to look at;
17     isn't it?
18                     MR. HUTTON:      Well, I think there's a
19     number of considerations just -- you know, I'll jump
20     ahead to that argument, but I think there are a number
21     of considerations that the Court looks at to determine
22     whether there is an inherent conflict and that may be
23     whether there's an issue that pertains to a plan issue
24     that is important to resolve right away in the
25     Bankruptcy Court.


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 1                     THE COURT:      Uh-huh.
 2                     MR. HUTTON:      There is that $10 million
 3     issue that was in, I think, the Fourth Circuit case
 4     that is cited by the trustee.             It was important in
 5     that case in White Mountain, it's a Fourth Circuit
 6     case, it's important in that case to determine whether
 7     a $10 million advance could be treated as debtor
 8     equity because whether it would, was treated as one or
 9     the other, impacted the ability of the debtor to
10     formulate a plan.
11                     THE COURT:      Uh-huh.
12                     MR. HUTTON:      So I think that was a factor.
13     It's one of the, you know, one of the few -- I think
14     that by looking at instances like that where the Court
15     decided that there was an inherent conflict, it
16     highlights why in this case it is not.
17                     Also, the case cited by both sides,
18     National Gibson --
19                     THE COURT:      Uh-huh.
20                     MR. HUTTON:      -- is another example where
21     the Court did find inherent conflict and it did so
22     because what the Court was asked to do in that case
23     was to construe its own orders, in terms of whether
24     the confirmation order and 524 prevented the party in
25     that case from collecting pre-petition debts.


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 1                     THE COURT:      Uh-huh.
 2                     MR. HUTTON:      And I think there are two --
 3     if there were no state law issues involved, the Court
 4     was being asked strictly to enforce its own order,
 5     interpret the Bankruptcy Code, I think that's another
 6     example, but here -- and there's another example,
 7     Gandy, from the Fifth Circuit where there are issues
 8     of extraterritorial jurisdiction and there was a need
 9     to perhaps enforce jurisdiction over assets
10     transferred to a foreign country.
11                     THE COURT:      Uh-huh.
12                     MR. HUTTON:      That's another example.          None
13     of these circumstances are present here.                 What you
14     have is a case, and that's why I gave you some of the
15     background.
16                     THE COURT:      Uh-huh.
17                     MR. HUTTON:      This is a case more than two
18     and a half years after it was filed, more than two
19     years after all the assets were sold, the issues in
20     this, if you look at all the allegations, the factual
21     issues that the Court's going to be asked to address,
22     or the arbitrator's going to be asked to address, are
23     not bankruptcy issues.
24                     THE COURT:      It's a collection issue.
25     Okay.    I understand that argument.


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 1                     MR. HUTTON:      So we don't think there is
 2     any conflict whatsoever, much less an inherent
 3     conflict because they're really and truly the issues
 4     that are being addressed here and in the State Court
 5     which is also subject to a motion to compel
 6     arbitration that's going to be heard on November 1st,
 7     are really issues, not everyday issues the Court --
 8     this Court necessarily deals with, but issues of
 9     accounting standards obligations, under Generally
10     Accepted Accounting Standards, what those -- how those
11     obligations apply in this case, whether those
12     obligations were met and so on.
13                     THE COURT:      Well, what about Mr. Cimo's
14     argument, at least indirectly by citation of cases
15     that the trustee isn't even bound by the arbitration
16     provisions because this is a right that exists outside
17     of the agreement, and therefore, the arbitration
18     provisions, putting aside for a minute the missing two
19     years, the arbitration agreement wouldn't apply?
20                     MR. HUTTON:      Well, if -- is Your Honor
21     referring to the cases that talk about fraudulent
22     transfer actions as not debtor --
23                     THE COURT:      No, let's forget about the
24     cases relied on.        What I want to know is what is your
25     position on the trustee's argument that because the


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 1     cause of action that's being pursued is a bankruptcy
 2     specific cause of action, I believe the trustee cites
 3     among other cases the HR Certified case, but because
 4     the cause of action is outside the contract, it's a
 5     bankruptcy cause of action, that the trustee is not a
 6     party to the -- for purposes of this lawsuit, is not a
 7     party to that engagement letter, and therefore, the
 8     arbitration provision doesn't even apply?                 So we never
 9     get to the standard of when the Court should or should
10     not defer to the arbitration provision.                So what is
11     your response to that argument?
12                     MR. HUTTON:      Well, the response, Your
13     Honor, and this is where we've invoked the equitable
14     estoppel argument --
15                     THE COURT:      Uh-huh.
16                     MR. HUTTON:      -- because we think that, you
17     know, yes, the trustee in his capacity here nominally
18     asserting a fraudulent transfer claim is not standing
19     in the shoes of the debtor, ostensibly is standing in
20     the shoes of the creditors who would have had the
21     right under state law to assert a fraudulent transfer
22     claim.
23                     THE COURT:      Uh-huh.
24                     MR. HUTTON:      And they cite the Third
25     Circuit opinion, Hayes, and our response to that and


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 1     what those cases have not considered and what the
 2     trustee doesn't address here is the equitable estoppel
 3     argument, and I think that's an important --
 4                     THE COURT:      That you shouldn't be able to
 5     rely on the contract and then step outside the
 6     contract in terms of getting the relief.
 7                     MR. HUTTON:      Yes, Your Honor, that's
 8     correct.     And the lead case that we cite for that is
 9     Andersen versus Carlisle, which is a 2009 Supreme
10     Court case.      And that was an action with investors and
11     a tax scheme sued a management firm, a law firm, an
12     accounting firm and related individuals alleging
13     fraud, negligence and other claims after the IRS said
14     that the tax scheme that they had set up was an
15     illegal tax shelter.         And the defendants, all of them,
16     the management firm, the accounting firm, the law firm
17     invoked an arbitration clause that is -- was only in
18     the investment management agreement with the
19     management firm.
20                     The Sixth Circuit said categorically that
21     non-signatories are not entitled to the benefits of an
22     arbitration agreement, but the Supreme Court reversed
23     and said that that's not correct, that non-signatories
24     can invoke an arbitration clause where relevant state
25     law permits.      And there's a number of grounds that the


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 1     Supreme Court indicated exist under relevant state law
 2     for non-signatories to assert the benefits under
 3     contract which include equitable estoppel, and the
 4     Supreme Court said that because traditional principles
 5     of state law allow a contract to be enforced by and
 6     against non-parties to the contract through
 7     assumption, piercing the corporate veil, alter ego,
 8     incorporation by reference, third party beneficiary
 9     theories, waiver and estoppel, the Sixth Circuit's
10     holding that non-parties to a contract are
11     categorically barred from Section 3 of the FAA relief
12     was error.      In fact --
13                     THE COURT:      Isn't that just what Judge Ray
14     said in Certified, was that because the parties
15     seeking arbitration did not show, that the trustee was
16     bound under any of those state law theories that
17     arbitration was not applicable?             And in Certified
18     wasn't the party relying on the same issues?                  In other
19     words, there was a contract seeking fraudulent
20     conveyance based on malpractice.
21                     MR. HUTTON:      Your Honor, I'm candidly not
22     familiar with Judge Ray's opinion in Certified.
23                     THE COURT:      Uh-huh.
24                     MR. HUTTON:      I would note that there
25     are --


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 1                     THE COURT:      Maybe I'm giving the wrong
 2     name.    No, Certified.       That's right.        Uh-huh.      Okay.
 3     Go ahead.
 4                     MR. HUTTON:      I would note that even before
 5     the Supreme Court opinion, contrary to the Sixth
 6     Circuit, there are a number of Eleventh Circuit
 7     opinions that recognize equitable estoppel, including
 8     McBro Planning and Development from 1984.
 9                     THE COURT:      Uh-huh.
10                     MR. HUTTON:      And Blinko versus Greentree
11     Servicing.      In fact, Blinko is interesting.               It's a
12     recent 2005 opinion, because neither party was
13     actually a party to the arbitration agreement.                   They
14     were husband and wife borrowers that asserted RESPA
15     claims against a successor servicer that actually
16     bought the rights to the note and mortgage out of the
17     Canseco bankruptcy.
18                     THE COURT:      Uh-huh.
19                     MR. HUTTON:      The servicer revoked the
20     arbitration clause and the note, which the husband
21     signed but the wife did not.            And the husband and wife
22     argued that servicing is a separate function and does
23     not arise out of the note.           And also that because the
24     wife never signed the note, that she was not bound by
25     the arbitration provision that was contained only in


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 1     note, it was not in the mortgage.
 2                     The Eleventh Circuit held two things:
 3     Number One, that the arbitration clause was broad
 4     enough to encompass the RESPA claims at issue because
 5     the servicing function arises out of holding the note
 6     and the obligations, the statutory obligations that go
 7     along with that.
 8                     And, secondly, that it was enforceable
 9     versus the wife, even though the wife was not a
10     signatory, because she was equitably estopped from
11     claiming the benefits on the note and it's such that
12     she would also be bound by the burdens of that note
13     which do include arbitration.
14                     So, we think that the Equitable Estoppel
15     Doctrine is one that's well-founded -- not only
16     required to be recognized under the recent 2009
17     Supreme Court decision in Andersen versus Carlisle,
18     but is also one that's well-founded in Eleventh
19     Circuit case law.        And also, because the Supreme Court
20     refers to state law, the BDOC versus B-case is also
21     relevant, and that's the situation where a former
22     partner bought a claim against the BDO partnership
23     seeking retirement benefits.
24                     And although the partner didn't sign the
25     agreement he relied upon the agreement establishing


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 1     his claims and he signed previous agreements that had
 2     the same arbitration language, the Court held that the
 3     claims were subject to arbitration under the Doctrine
 4     of Equitable Estoppel.
 5                     THE COURT:      Uh-huh.
 6                     MR. HUTTON:      And here, Your Honor, what
 7     we're asserting is that when the trustee is asserting
 8     claims against BDO and does so based upon the duties
 9     and obligations that it had to perform the audits in
10     accordance with Generally Accepted Accounting
11     Standards in the United States, as it agreed it would
12     do on the engagement letters --
13                     THE COURT:      Uh-huh.
14                     MR. HUTTON:      -- and alleges that it failed
15     to perform to those standards, that the trustee is
16     equitably estopped from denying or refusing to
17     arbitrate as contained in those same agreements.
18                     THE COURT:      Okay.     Well -- okay.       So
19     you're differentiating if the cause of action arose
20     separate from the agreement.            Let's say a BDO partner
21     committed a separate crime or a separate torte for
22     which the debtor had a cause of action.
23                     MR. HUTTON:      I think --
24                     THE COURT:      You would differentiate it,
25     because then you're not looking to the contract.


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 1                     MR. HUTTON:      I mean, I think that is a
 2     separate issue, that's not the point I was making now,
 3     but I think that is another issue.
 4                     THE COURT:      Uh-huh.
 5                     MR. HUTTON:      Because when you look at --
 6     for example, they cite Hayes and Company --
 7                     THE COURT:      Uh-huh.
 8                     MR. HUTTON:      -- the Third Circuit opinion,
 9     which did not, you know, by the way consider equitable
10     estoppel, the issue wasn't raised, it wasn't argued.
11     It was decided ten years before the Supreme Court
12     decision in Andersen versus Carlisle --
13                     THE COURT:      Uh-huh.
14                     MR. HUTTON:      -- and the issue just wasn't
15     presented, but even if it was, if it had been raised,
16     I'm not sure if it would have applied in that case
17     because it dealt with a brokerage agreement with
18     Merrill Lynch the debtor had and the customer
19     agreement had an arbitration clause in it.
20                     THE COURT:      Uh-huh.
21                     MR. HUTTON:      The trustee alleged certain
22     security law violations for churning an account and
23     fraudulent transfers relating to that churning.                  The
24     claims in the case were based upon the representations
25     that were made by -- supposedly by Merrill Lynch to


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 1     the debtor customer, you know, in terms of types of
 2     investments that would be made --
 3                     THE COURT:      Right.
 4                     MR. HUTTON:      -- and so on, not based upon
 5     expressing any duties or obligations under the
 6     customer agreement.         In fact, one of the things that
 7     the debtor tried to do during the case was to assume
 8     the customer agreement, but the Court said, no, we're
 9     not going to do that.         That's not executory.           There
10     are no obligations under our agreement and the
11     arbitration clause is enough --
12                     THE COURT:      Right.
13                     MR. HUTTON:      -- alone, was enough to make
14     it executory.
15                     THE COURT:      Uh-huh.
16                     MR. HUTTON:      So the Court did, in that
17     case, order arbitration of all claims other than 544,
18     but again, the Court did not consider equitable
19     estoppel and it's not clear that it would have applied
20     because the claims are not based upon representations
21     made in the customer agreement.             It was based upon
22     separate verbal representations that were made
23     concerning the type of investments that were being
24     made to the brokerage firms' clients in that case, you
25     know, in terms of the accounts.


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 1                     THE COURT:      Uh-huh.     Okay.     I'm going to
 2     stop you.     One more question and then you need to sit
 3     down because it's already been a half hour.
 4                     Mr. Cimo states that you do not -- you
 5     failed to include the October 4th through September
 6     5th and the October 7th through September 8th
 7     agreement.      So, does that mean that there were none in
 8     existence?
 9                     MR. HUTTON:      Not at all, Your Honor.          And
10     let me address and clarify that for you.                 What we have
11     attached to the complaint and to the State Court
12     complaint that's attached to the motion to compel
13     arbitration is, first of all, a letter -- an
14     engagement letter dated March 18th, 2008 that pertains
15     to the audit done as of September 30th as to the audit
16     for the year ending September 30th, 2007.
17                     THE COURT:      Right.
18                     MR. HUTTON:      And there was after that,
19     Your Honor will recall this case as I mentioned, filed
20     on June 30th, of 2008, so I don't think there was a
21     postpetition letter for the year ending December 30th,
22     2008.
23                     THE COURT:      Okay.     So you're saying --
24                     MR. HUTTON:      There is a --
25                     THE COURT:      -- there is a letter for the


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 1     first period, but not for the second; is that what
 2     you're saying?
 3                     MR. HUTTON:      Well, what I'm saying is that
 4     there are letters that we attached for the audit years
 5     ending 2007, 2006 and 2004.
 6                     THE COURT:      Uh-huh.
 7                     MR. HUTTON:      The only audit year for which
 8     we did not attach an engagement letter was for the
 9     audit year ending September 30th, 2005.
10                     THE COURT:      Okay.     And the reason was why?
11                     MR. HUTTON:      The reason, obviously after
12     we saw the response and we went back and checked and
13     we spoke with the -- my colleague spoke with the
14     engagement partner at BDO today, we were told that
15     there is a letter, I have a draft of it.                 They're
16     trying to locate the original.             It is in their
17     ordinary and customary practice to do it, and you
18     know, they believe they would not have done an audit
19     without having an engagement letter.               It's our intent
20     to -- I have the draft, it was dated December 14th,
21     2005.    It's out intent to supplement the record with
22     the original.       I don't know if it's the trustee's
23     contention that there was none or that, you know,
24     simply, you know, that we failed to attach it.
25                     THE COURT:      Okay.     Well, that's an open


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 1     issue then.      Okay.    Thank you, Mr. Hutton.
 2                     All right.      Mr. Cimo, anything you want to
 3     highlight before you address the issues raised by
 4     Mr. Hutton and I ask the questions that I have?
 5                     MR. CIMO:     Yes, Judge, very briefly.           It
 6     did take a half hour because he had to explain away
 7     the fact what's very simple, which is, this is an
 8     action under 544 and 548 of the Bankruptcy Code.
 9     These claims did not exist until the petition was
10     filed.
11                     For Mr. Hutton to argue that equitable
12     estoppel applies when these claims could only be filed
13     in Bankruptcy Court, is beyond absurdity.                 These are
14     not state law claims.         726 is only applied under the
15     Florida Fraudulent Transfer Statute vis-a-vis 544.
16     When you go to my complaint, this is an action
17     asserting rights under 544 and 548.               544 allows us to
18     go back four years, 548 allows us to go back two
19     years.
20                     Moreover, I assure you if we sought
21     arbitration and didn't file these in front of the
22     Bankruptcy Court, they would be seeking to dismiss
23     them as the arbitration panel not having any
24     jurisdiction to be deciding claims under Section 544,
25     548 of Bankruptcy Code.          So we filed this lawsuit the


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 1     only place where we could file it.              We couldn't file
 2     it in    State Court.       We couldn't file it in the
 3     arbitration Court.        We could only file it here.            And
 4     the rational for this is aptly explained and not
 5     reversed by a Supreme Court case in our response
 6     papers and the Third Circuit case that we cited, which
 7     if you turn to Page --
 8                     THE COURT:      Are you talking about Hayes?
 9                     MR. CIMO:     -- 6 of 14 of our brief, this
10     is the rational of the Third Circuit in Hayes versus
11     Merrill Lynch, quote, "Such claims are not derivative
12     to the bankrupt.        They are creditor claims of the
13     Bankruptcy Code, that the Bankruptcy Code authorizes
14     the trustee to assert on their behalf.                The Supreme
15     Court has made it clear that it is the parties to an
16     arbitration agreement who are bound by it, and whose
17     intentions must be carried out.             Thus, there is no
18     justification for binding creditors to an arbitration
19     clause with respect to claims that are not derivative
20     from one who is a party to it."             It follows, "That the
21     trustee cannot be required to arbitrate its Section
22     544(b) claims and that the District Court was not
23     obligated to stay them pending arbitration."
24                     He's trying to basically stick a square
25     peg in a round hole.         We don't think equitable


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 1     estoppel could ever apply under these circumstances,
 2     and we've cited other cases that clearly state for the
 3     proposition -- again, we don't think these have all
 4     been modified by the Supreme Court opinion, that
 5     fraudulent transfer claims are core claims.                   That
 6     they're creatures of statute.             This is on Page 7 of 14
 7     of my brief; that are solely for the benefit of
 8     creditors of the debtor.           And as such, are not
 9     arbitratable.       Part of preferential transfer claims
10     are not arbitratable.         National Gypsum, core
11     declaratory judgment claim is not arbitratable.                   And
12     then Mintze, extent, validity and priority of liens is
13     not arbitratable.
14                     If you take away these core claims from
15     the Bankruptcy Court, non-bankruptcy judges or
16     non-District Court judges sitting in bankruptcy are
17     going to be deciding core issues that Congress has
18     clearly delineated can only be decided by the
19     Bankruptcy Court.
20                     So, we don't think there's a lot of
21     argument here on what the cases say.               We agree with
22     you that the trustee is not a party to the agreement
23     and we believe that under the core analysis and the
24     fact that these claims only existed when the
25     bankruptcy case was filed, we don't understand how


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 1     equitable doctrines can apply and take away
 2     jurisdiction that only exists before this Court by
 3     virtue of a doctrine which is equitable in nature and
 4     cannot apply to statutory claims under the Federal
 5     Bankruptcy Code.
 6                     THE COURT:      All right.      Well, I'm confused
 7     now, Mr. Cimo, and I didn't state that the trustee was
 8     or was not a party.         I asked Mr. Hutton to answer the
 9     question as to that.
10                     In the Electric Machinery case, which is
11     an Eleventh Circuit case, as you know, the
12     Whiting-Turner versus Electric Machinery, which is a
13     2007 case, the Eleventh Circuit addressed the issue of
14     whether and under what circumstances a Bankruptcy
15     Court must defer to the Federal Arbitration Act.
16                     MR. CIMO:     Yes.
17                     THE COURT:      And the first issue that the
18     Court had to decide, although the Court found to the
19     contrary, was whether or not the litigation for which
20     the arbitration right had been asserted was core.                  And
21     the Court in that case defined core, let's see, I
22     can't find the exact quote but essentially it's a
23     cause of action that only exist in bank -- oh, here we
24     go.   It's Toledo citing its own decision, stated, if
25     the proceeding involves a right created by the federal


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 1     bankruptcy law it is a core proceeding.                Okay.
 2                     MR. CIMO:     Yes.
 3                     THE COURT:      So, your argument about 544
 4     and 548 that it's a core proceeding is consistent with
 5     what the Eleventh Circuit in the Whiting-Turner case
 6     says is a core proceeding.
 7                     MR. CIMO:     Correct.
 8                     THE COURT:      Okay.     So then we look at,
 9     again, in the same opinion -- oh, God, it's so hard to
10     read this.      This is why I like the old-fashioned way.
11     I think it's Page 797 or 796.             The Court, in looking
12     at Judge Williamson's decision states the following in
13     looking at this core issue, again.              It says, however,
14     whether or not the Bankruptcy Court has jurisdiction,
15     even exclusive jurisdiction, over a matter is a
16     separate question from whether enforcing a valid
17     arbitration agreement would pose an inherent conflict
18     with the underlying purposes of the Bankruptcy Code.
19     And then the Court goes on to establish a test.
20                     The Court says, one, that you have to
21     distinguish between core and non-core.                That's the
22     first thing the Eleventh Circuit says.                And then the
23     Court says that with respect to non-core, that
24     generally, the Bankruptcy Courts do not have
25     discretion to decline to enforce an arbitration


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 1     agreement relating to a non-core proceeding.
 2                     Then the Eleventh Circuit goes on to say,
 3     and here's the second part of the test, however, even
 4     if a proceeding is determined to be a core proceeding,
 5     the Bankruptcy Court must still analyze whether
 6     enforcing a valid arbitration agreement would
 7     inherently conflict with the underlying purposes of
 8     the Bankruptcy Code.
 9                     So, I understand your argument and with
10     all sincere, respect and admiration for Judge Ray, I
11     read Whiting-Turner as bypassing this issue of a core
12     proceeding being one that is not derivative of an
13     agreement, that that does not seem to be the test to
14     the Eleventh Circuit.         And I'm not saying what I would
15     do in the absence of that language, but it seems to me
16     that the Eleventh -- I mean, it seems very clear to me
17     that the Eleventh Circuit bypasses that completely and
18     says, that is not the analysis.             It's not core or
19     non-core.
20                     MR. CIMO:     Absolutely.
21                     THE COURT:      I mean, that's not what
22     decides whether the arbitration agreement is binding.
23     So, it would seem to me that for purposes of the
24     Eleventh Circuit and the Whiting-Turner decision, what
25     I would have to look at in terms of determining


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 1     derivative, in other words, does it relate to the
 2     agreement, putting aside the equitable estoppel
 3     argument, okay, is -- does the cause of action flow
 4     from the contract rights.           And that, to me, is the
 5     decision as to whether it's subject to the arbitration
 6     clause.     So that's -- so my first question to you,
 7     Mr. Cimo, is, I've read your complaint and the way I
 8     read the complaint is that it is based on the
 9     negligent performance, or the gross misperformance, by
10     BDO of its obligations under the agreements.                  That is
11     the reason why a reasonably equivalent value was not
12     delivered.
13                     MR. CIMO:     It's based in part on that.
14                     THE COURT:      Right.     So my question is,
15     because I know you mentioned the actual fraud.                  Okay.
16     So, one, I need to know where in the complaint are
17     there allegations that do not have any relationship to
18     the engagement reflected -- the engagement of BDO
19     pursuant to the engagement letters, putting aside by
20     the way for a minute that there might be gaps, and I
21     will tell you now, that if there was no valid
22     engagement letter with an arbitration provision that
23     year is a different situation.             And then we talk about
24     staying non-arbitrable provisions.              So, show me -- I
25     have the complaint here in front of me, Mr. Cimo, if


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 1     you give me a moment.
 2                     MR. CIMO:      Yes, more than happy to.
 3                     THE COURT:      And, I'm sorry gentlemen, but
 4     you're just going to have to get comfortable and put
 5     your feet up, or go find a coffee place.                  We'll be
 6     done eventually.
 7                     MR. CIMO:      On Page 5.
 8                     THE COURT:      Okay.     So on Page 5.
 9                     MR. CIMO:      Of the complaint.
10                     THE COURT:      Of the complaint.
11                     MR. CIMO:      We articulate management's,
12     acts and omissions.
13                     THE COURT:      Okay.     What paragraph, I'm
14     sorry?
15                     MR. CIMO:      This is the actual Section B.
16     I'm reading the title of the section.
17                     THE COURT:      Okay.     Yes, I see it.
18                     MR. CIMO:      We incorporate a separate
19     section into the complaint, after the history and
20     business operations of the debtor.
21                     THE COURT:      Right.
22                     MR. CIMO:      And it has a B, Capital B,
23     called Management's acts, omissions and breaches of
24     fiduciary duty, and intent to hinder or delay
25     creditors.


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 1                     THE COURT:      Right.
 2                     MR. CIMO:     And then set forth what
 3     management did.
 4                     THE COURT:      Uh-huh.
 5                     MR. CIMO:     So, the alternative basis for
 6     relief has nothing to do with the engagement letter,
 7     but has everything to do with aiding and abetting the
 8     conduct of the debtor's principals in breaching their
 9     fiduciary duties.        And there's a separate claim in
10     here for actual intent to hinder or delay.                    And the
11     fact that what the acts and omissions that BDO engaged
12     in assisted those principals in aiding them in breach
13     of their duties.        And we believe those exist apart
14     from whatever agreement this entity had with the
15     debtor estate.
16                     We also submit to you that this is one of
17     those claims that didn't exist until ultimately the
18     bankruptcy was filed, and that, although it is true
19     that you have to look at it under the Eleventh Circuit
20     case whether it arises or relates out of the
21     agreement, these actual intent allegations of the bad
22     conduct of the debtors is well outside professional
23     malpractice, and rises to the separate tort of aiding
24     and abetting breach of fiduciary duty, potentially
25     conspiracy to aid and abet breach of fiduciary duty


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 1     is clearly outside of the four corners of an
 2     arbitration provision.
 3                     THE COURT:      Does that cause of action
 4     exist in Florida?
 5                     MR. CIMO:     Aiding and abetting does exist
 6     in Florida.
 7                     THE COURT:      And the breach of fiduciary
 8     duty?
 9                     MR. CIMO:     Absolutely.       Aiding and
10     abetting, breach of fiduciary duty does exist under
11     Florida law, but we believe though that because we
12     could not file this 548 action anywhere else, we don't
13     believe the Eleventh Circuit addressed this issue of,
14     what if we file this before            the arbitrators.       I
15     submit to you they would have moved to dismiss and
16     said the arbitrators have no jurisdiction to hear a
17     548 claim or a 544 claim which is not a shoe-stepping
18     claim --
19                     THE COURT:      Uh-huh.
20                     MR. CIMO:     -- but a claim that only exists
21     when the petition is filed, and once the petition is
22     filed, then you have to weigh those new rights that
23     come into existence with the rights that derive under
24     these contracts that have these arbitration
25     provisions.


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 1                     THE COURT:      Well, I think what the
 2     Eleventh Circuit says I have to do is whether
 3     enforcing the agreement would inherently conflict with
 4     the underlying purposes of the Bankruptcy Code.
 5                     MR. CIMO:       And we think the answer is
 6     yes, because the underlying rationale and thrust of
 7     544 and 548 is to have one forum decide who is
 8     disgorging fraudulent transfers, and if we start
 9     allowing arbitrators to decide who disgorges
10     fraudulent transfers, then we could have creditors
11     outside of bankruptcy filing their own fraudulent
12     transfer actions saying that they want to become the
13     estate representative to avoid and recover fraudulent
14     transfers.
15                     THE COURT:      But then doesn't that tie into
16     a conflict with the Hayes decision in that only the
17     trustee can bring those actions and not a creditor?
18                     MR. CIMO:     I was in a case called Swirn
19     before Judge Cristol where Judge Cristol did rule that
20     only the trustee as the representative of the estate
21     can do so, but there is countervailing law which the
22     Eleventh Circuit hasn't ruled on yet --
23                     THE COURT:      Uh-huh.
24                     MR. CIMO:     -- that says until that
25     judgment gets entered to avoid a fraudulent


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 1     transfer --
 2                     THE COURT:      Uh-huh.
 3                     MR. CIMO:     -- any creditor can file a
 4     motion or a complaint to avoid a fraudulent transfer.
 5     Imagine what a horrible result that would be.
 6                     THE COURT:      Well, let's just hope the
 7     Supreme Court doesn't get ahold of it.
 8                     All right.      So, my understanding,
 9     Mr. Cimo, is your argument is that with respect to the
10     aiding and abetting, while the aiding and abetting
11     might have been made possible by the fact that BDO was
12     under contract with Cardiac, that that cause of action
13     is not derived from the agreement whether -- so, it's
14     not an arbitratable provision?
15                     MR. CIMO:     Well, I think the arbitration
16     provision -- I have to answer your question directly.
17                     THE COURT:      Uh-huh.
18                     MR. CIMO:     The arbitration provision is so
19     broad that if somebody had a hangnail and they stubbed
20     it on a door at the debtor's premises and it had
21     something to do with BDO, they would argue that that's
22     arbitratable.       That's how broad it is.
23                     THE COURT:      Uh-huh.
24                     MR. CIMO:     But I will tell you that when
25     you asked the question to me of the type of conduct


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 1     that's in conflict with the Bankruptcy Code, there's
 2     nothing more in conflict with the Bankruptcy Code than
 3     the right of a fiduciary, whether it be a
 4     debtor-in-possession or a trustee, to recover and
 5     disgorge monies from a fraudulent transferee, nothing
 6     more sacred under the Bankruptcy Code than that.
 7                     And if we're going to go to this equitable
 8     estoppel, this judicial common law concept to override
 9     a statutory provision, we've just enacted a new in
10     pari delicto concept that's going to apply to trustees
11     on arbitration provisions where even though you have a
12     statutory claim that you can only bring in Bankruptcy
13     Court, let's create a judicial doctrine to stop you
14     from litigating it in the one forum where you could
15     file it, and we respectfully submit because this claim
16     could only be filed before the Bankruptcy Court, there
17     can't be any rule that says this has to be
18     arbitratable, and to try to argue common law or the
19     Eleventh Circuit standard to say that this has to
20     weigh in favor of what the provision says, completely
21     belies and undermines the statutory provisions that
22     permit the trustee, as the sole representative of the
23     estate, to avoid and recover fraudulent transfers.
24                     THE COURT:      Well, what about the fact that
25     your action in State Court for the $6 million


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 1     encompasses the return of the fees?
 2                     MR. CIMO:     We don't dispute that, but at
 3     the end of the day, that's a disgorgement action under
 4     common law and that may ultimately not be decided by
 5     the State Court or the arbitrators.               They may very
 6     well say, that's more appropriately done in a
 7     bankruptcy proceeding, but we're not going to not
 8     assert a disgorgement claim --
 9                     THE COURT:      Uh-huh.
10                     MR. CIMO:     -- just because we had a right
11     to do so under the Bankruptcy Code.               We don't believe
12     asking for that relief is adequate to make the estate
13     whole in the event it is determined that that
14     disgorgement claim for whatever reason should not be
15     permitted, whether we don't meet the elements under
16     state law, et cetera.
17                     The fact remains, when a fiduciary asserts
18     a statutory claim that only he or she can assert --
19                     THE COURT:      Uh-huh.
20                     MR. CIMO:     -- far be it from someone to
21     argue that because we have similar relief in a State
22     Court that we can't go forward, we think that totally
23     undermines the purpose of 548 and 544.
24                     THE COURT:      Okay.     Well, let's put aside
25     the breach of fiduciary duty or the aiding and


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 1     abetting the breach of fiduciary duty for a moment.
 2     I'm going to assume, number one, that that cause of
 3     claim under whatever name you call it has not been
 4     alleged in the complaint in the State Court.
 5                     MR. CIMO:     There is a claim for aiding and
 6     abetting in the State Court.
 7                     THE COURT:      Okay.     So you asked for aiding
 8     and abetting in State Court.
 9                     MR. CIMO:     Yes.
10                     THE COURT:      Okay.     And --
11                     MR. CIMO:     By the way, that's my
12     recollection.       I don't have the State Court complaint
13     in front of me.       If it's attached, I believe when I
14     drafted that complaint we added a count for aiding and
15     abetting.
16                     MR. HUTTON:      Your Honor, I can represent
17     to the Court it is part of the -- it's Count 2 in the
18     State Court.
19                     THE COURT:      Okay.     All right.      So you have
20     an aiding and abetting count and then you've asked for
21     -- so, these are not causes of action, you might call
22     them something different, but they're not claims that
23     you could not have made in the State Court action,
24     which I understand the Court hasn't ruled on that
25     arbitration provision yet.


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 1                     MR. CIMO:     When you say these claims, you
 2     mean the ones that are in front of you today?
 3                     THE COURT:      I'm saying the facts giving
 4     rise to the claim, not the title that you put --
 5                     MR. CIMO:     We fully concede that the facts
 6     that we've asserted in the State Court are the same
 7     facts -- virtually identically the same facts that
 8     we've alleged here.         We're not contesting that there's
 9     any difference, but we are saying is that under the
10     actual intent prong --
11                     THE COURT:      Uh-huh.
12                     MR. CIMO:     -- which we don't have in State
13     Court, there's a different set of criteria that are
14     employed that are unique and that which require of you
15     going outside of the four corners of the arbitration
16     provision.
17                     THE COURT:      Okay.     Now, if the State Court
18     or the arbitrators of the State Court action
19     determined that BDO was not negligent or grossly
20     negligent or whatever, would you still have a claim
21     for aiding and abetting breach of fiduciary duty?
22                     MR. CIMO:     Possibly.       I've never seen
23     that, but it's very possible that they can determine
24     that they've met the standard of care and yet acted in
25     a manner that aided and abetted separate conduct of


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 1     the principals which resulted in aiding and abetting
 2     liability.      It's unlikely, but there's a possibility
 3     that they could still aid and abet and still discharge
 4     their duties under the code that governs that
 5     profession.
 6                     THE COURT:      So, you have no obligation to
 7     intervene when a man is being murdered, but even if
 8     you do nothing wrong, you could be found liable for
 9     aiding and abetting --
10                     MR. CIMO:     I don't think it works that
11     way.    I think you have to look at every act and
12     omission on a case by case basis, and an expert may
13     say that X was not a violation of the rules of
14     professional conduct, but B -- but conversely it did
15     aid and abet because of knowledge and substantial
16     assistance, and this substantial assistance may have
17     been something more than issuing an audit opinion.
18                     The point is, it's unlikely that that will
19     happen, but it could happen.            There could be a
20     scenario where the jury comes out and says, not
21     professional negligence, but there seemed to be aiding
22     and abetting a breach of fiduciary duty.
23                     THE COURT:      Okay.     Well, let me ask about
24     this, you have a count for actual intent to defraud.
25                     MR. CIMO:     No, we don't use the word


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 1     defraud.
 2                     THE COURT:      I'm sorry.
 3                     MR. CIMO:     We use intent to hinder or
 4     delay.
 5                     THE COURT:      Intent to hinder or delay
 6     creditors.      Okay.    And the basis for your allegations
 7     of the actual intent is?
 8                     MR. CIMO:     Badges of fraud analysis.
 9                     THE COURT:      Well, I'm just trying to find
10     that, and that goes to the breach of fiduciary duty
11     claims?     In other words, your badges of fraud are --
12                     MR. CIMO:     Paragraph 45.
13                     THE COURT:      25 not 45.
14                     MR. CIMO:     Paragraph 45.
15                     THE COURT:      Oh, Paragraph 45.         Okay.
16     Well, it says the debtor made the 2004 to 2008
17     transfers with the actual intent to hinder or delay
18     creditors.      I'm just trying to understand how paying a
19     professional, no matter how poorly they allegedly
20     performed, would translate into an actual intent to
21     hinder or delay creditors.
22                     MR. CIMO:     That's a fair question.          It's a
23     case that I lost in Model Imperial case, a bank
24     provided value, lots of value to Model Imperial, and
25     the Court said the value you provided you don't get


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 1     credit for because you're not a good faith transferee.
 2                     THE COURT:      Yeah, but I know the facts of
 3     that case pretty well, Mr. Cimo.
 4                     MR. CIMO:     Every case has a different --
 5                     THE COURT:      Right.     What I am saying is
 6     that in that case the Court found that there was
 7     actual knowledge by the debtor and the bank with
 8     respect to loan provisions that didn't allow the loan
 9     to be made.
10                     MR. CIMO:     The Court found that Hamilton
11     Bank was on inquiry notice that there was something
12     about the transactions which would be a fraudulent
13     transfer.
14                     THE COURT:      Okay.
15                     MR. CIMO:     And it's an inquiry notice
16     standard.     It's not the trustee's burden to establish
17     a lack of good faith.         It's the transferee's burden to
18     establish that they were in good faith, and when a
19     professional does more than just either fall below the
20     standard of care or have knowledge of specific issues
21     which would render the transfer avoidable, we believe
22     that that case law in the Model decision regarding
23     good faith could be applicable to professionals
24     equally as it is to a bank or any other creditor
25     dealing with the debtor.


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 1                     THE COURT:      But what I'm trying to
 2     understand is that you're suggesting that the debtor
 3     paid a professional that didn't deserve to be paid and
 4     that's a grounds for actual intent to hinder or delay
 5     creditors?
 6                     MR. CIMO:     No, we're claiming that in
 7     order to determine whether the transfers were made
 8     with actual intent, they needed to get clean audited
 9     opinions from their accountants, and to the extent the
10     accountants worked with management, in this
11     particular case the allegation is the receivables were
12     overstated, that these receivables were overstated and
13     banks loaned on those receivables thinking the
14     receivables were worth more than they really were,
15     created a scenario where the debtor was not acting
16     appropriately.       He was acting with actual intent to
17     hinder or delay certain creditors.
18                     And when you do a badges of fraud
19     analysis, whether there's lack of insolvency, not
20     paying its debt as they became due, insufficient value
21     because there were allegations that the auditing
22     services were less than stellar, it raises factual
23     issues whether these transfers were made with actual
24     intent to hinder or delay.           We're not making any
25     allegation that there was any intent to defraud.


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 1                     THE COURT:      Okay.     Let me ask you one
 2     other question and then I'm going to ask Mr. Hutton
 3     for a brief response.
 4                     Why shouldn't I continue the hearing on
 5     this, in other words, wait and see what the State
 6     Court does, I mean, what is gained if the State Court
 7     either denies or grants the motion to arbitrate,                  why
 8     shouldn't this matter, whether I grant the motion to
 9     arbitrate or not, be stayed pending resolution of
10     those other issues, so that you're not litigating in
11     two courts the exact same factual issues?
12                     MR. CIMO:     Well, when you get into issues
13     of judicial economy, et cetera, and whether or not
14     this action should be stayed, we respectfully believe
15     that those issues are not ripe for a determination
16     right now until we see what happens not only on the
17     arbitration motion in State Court, but whether any
18     appeal which comes out of that may be resolved because
19     one party may not like what happens from that and that
20     may be an appealable order.
21                     We just don't think that justice should be
22     delayed while that process is going forward and until
23     there's more information about where these cases are
24     going, we have a right, we believe, to go forward on
25     this action and if we win on this case, it could very


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 1     well be it could bring about a quicker resolution of
 2     the State Court case because we're going to try issues
 3     in this case that are no doubt related to what's
 4     happening in the State Court, but the fact remains, if
 5     we could have filed these in State Court, we could
 6     have very well, but we couldn't.              So, because that's
 7     the case, why should we be delayed in prosecuting our
 8     claim if we have a right to prosecute these claims.
 9                     In any event like Mr. Hutton stated, this
10     will be heard by the Article 3 judge sitting in
11     bankruptcy, not by you because of the jury trial
12     demand, but at the end of the day the trustee has a
13     right to try to disgorge those transfers.                 And for all
14     I know, they might write a check to us, if you deny
15     the stay motion, for that $200,000 and change mooting
16     out this entire complaint, meaning all that will be
17     left is the State Court case.             I will tell you, we
18     will do everything we can to coordinate discovery in
19     regard to both cases.         It's not our intention -- I'm
20     on a contingency.
21                     THE COURT:      Uh-huh.
22                     MR. CIMO:     It's not my intention to take
23     four or five depositions of the same person.                  We want
24     to do everything we can to promote judicial economy.
25     We just don't believe being stopped in our tracks to


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 1     disgorge a fraudulent transfer should be employed at
 2     this early stage of the proceeding, and this adversary
 3     is still at its early stages, although I do concede
 4     the underlying bankruptcy case has been around for a
 5     little bit of a while.
 6                     THE COURT:      Okay.     Thank you.
 7                     MR. CIMO:       I also wanted to add that --
 8                     THE COURT:      Yes, sir.
 9                     MR. CIMO:     -- we don't think dismissal is
10     appropriate under any circumstances because our
11     statute would have expired.            So if you are going to do
12     anything in terms of granting relief, we don't want
13     the case dismissed.         If you going to allow us to
14     arbitrate, we just want that arbitration.
15                     If that's what your decision is, we want
16     that stature to be deemly complied with if we're the
17     ones that have to file the arbitration proceeding.                   We
18     don't want to be punished because at the end of the
19     day this is one of those claims where we filed within
20     the two years --
21                     THE COURT:      Right.
22                     MR. CIMO:     -- and it will not be timely if
23     we're required to dismiss this and file a separate
24     arbitration proceeding.
25                     THE COURT:      Well, I don't think that they


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 1     asked for a dismissal.
 2                     MR. CIMO:     Some cases permit it, I just
 3     want to point that we, you know --
 4                     THE COURT:      No, that wouldn't happen.
 5                     MR. CIMO:     Thank you, Judge.
 6                     THE COURT:      All right.      Mr. Hutton,
 7     anything that you want to respond to?
 8                     (Thereupon, The Court reporter changed her
 9     paper and a discussion was held off the record.)
10                     THE COURT:      All right.      So, are you ready?
11                     Court REPORTER:        Yes, Your Honor.
12                     THE COURT:      So, Mr. Hutton, any brief
13     response?
14                     MR. HUTTON:      Yes, Your Honor.         And I'm
15     glad Your Honor raised or asked about the actual fraud
16     issue because --
17                     THE COURT:      Well, but Mr. Cimo said there
18     is no request for actual fraud, it's intent to hinder
19     or delay.
20                     MR. HUTTON:      Intent to hinder or delay.
21                     THE COURT:      Okay.     But that's different.
22                     MR. HUTTON:      Actual intent, I should say.
23     Because we, too, saw the, you know, one sentence
24     allegation in Paragraph 45, but nothing else that we
25     could find that related to that, certainly no express


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 1     badges of fraud alleged anywhere in the complaint, and
 2     so I sort of scratched my head in terms of, you know,
 3     where that came from other than another attempt to
 4     avoid arbitration of these claims.
 5                     Then, I think, Mr. Cimo tried to tie it in
 6     with the aiding and abetting management issue, and so
 7     I went back and looked at those allegations of the
 8     complaint, while he was speaking, and it turns out
 9     that those two mirror allegations that are in the
10     State Court, because in State Court and Mr. Cimo said,
11     well, these claims can only be brought here.                  That's
12     not so.     They were, the aiding and abetting claim was
13     brought in State Court.          In fact, I think that's where
14     they're seeking a ruling, because they're not just
15     seeking to recover the fees paid, they're seeking
16     damages in excess of $6 million.
17                     But if you compare the allegations that
18     are made in this complaint, in Paragraphs 23 through
19     28(g), they are verbatim the same as the allegations
20     that support the aiding and abetting claim in the
21     State Court, in the amended complaint it's Paragraphs
22     28 and 32 through 38(g).           But I think there's a
23     disconnect between saying that BDO aided and abetted
24     management's breaches of fiduciary duty and saying
25     that by paying fees to BDO there is some actual intent


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 1     to hinder delay or defraud.            I think there's a
 2     disconnect there and I don't think these
 3     allegations --
 4                     THE COURT:      Hinder or delay, no defraud.
 5                     MR. HUTTON:      I think there's a disconnect
 6     between saying, well, BDO somehow aided and abetted
 7     management's breaches of duty.
 8                     THE COURT:      By being incompetent?
 9                     MR. HUTTON:      By not catching certain acts
10     in terms of, you know, the statement of receivables or
11     what, you know, the things that are alleged here, in
12     saying, I think it's a separate issue, whether
13     payments that were made to BDO, the $215,000 that was
14     paid for auditors over four years was management or
15     the debtor, the intent to hinder or delay creditors by
16     making those payments.          I don't see how the allegation
17     they've made regarding the aiding and abetting count
18     which mirror those in State Court relate to the
19     payments of those transfers that are really the only
20     thing at issue in the adversary complaint.
21                     THE COURT:      Okay.
22                     MR. HUTTON:      So I think there's a
23     disconnect there.        The --
24                     THE COURT:      Okay.     What about Mr. Cimo's
25     argument that equitable estoppel can't apply because


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 1     his cause of action can't exist outside of Bankruptcy
 2     Court?
 3                     MR. HUTTON:      Well, it actually does.          The
 4     -- this is 544. It -- they rely upon 726, and this
 5     action could have been brought by creditors outside of
 6     bankruptcy.      In fact, they allege that there are
 7     actual creditors that existed that could have brought
 8     the claim, that's a necessary element of the cause of
 9     action they're asserted.
10                     THE COURT:      Uh-huh.
11                     MR. HUTTON:      So it did exist.         I think the
12     issue is those creditors were nonsignatories to the
13     agreement.      Our answer to that is equitable estoppel
14     because they relied upon the agreement establishing
15     the claims.
16                     THE COURT:      Okay.
17                     MR. HUTTON:      And, you know, to the extent
18     that Hayes said, that Mr. Cimo said, the parties to
19     the   arbitration agreement are bound, well, we would
20     submit that in Andersen vs Carlisle the Supreme Court
21     held otherwise and said that, it's not necessary just
22     the parties to the arbitration agreement, and the
23     Supreme Court -- as we referenced, there is Eleventh
24     Circuit authority, McBro and the other cases we've
25     cited, that recognized that even in situations where


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 1     neither party is a party to the arbitration agreement
 2     equitable estoppel principles can apply and --
 3                     THE COURT:      Okay.
 4                     MR. HUTTON:      -- and require the
 5     application of the arbitration provision, and we think
 6     that's certainly the case here.
 7                     THE COURT:      Okay.     Thank you.
 8                     MR. HUTTON:      One last thing?
 9                     THE COURT:      Very briefly.
10                     MR. HUTTON:      Very very brief.
11                     THE COURT:      Because now I'm running an
12     hour behind schedule.
13                     MR. HUTTON:      There was a comment or a
14     concern about discovery in arbitration.                Assuming,
15     and I'm not the expert in arbitration, but I conferred
16     with some of my colleagues who do it, and I am told
17     this would be a complex arbitration.               I have a copy of
18     the arbitration rules if Your Honor would like to see
19     them.
20                     THE COURT:      Please no.
21                     MR. HUTTON:      Where claims are in excess of
22     a million, there is discovery and discovery typically
23     is allowed in arbitration.           So, if there's any concern
24     about not being able to get discovery in an
25     arbitration proceeding, that should not be cause for


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 1     concern.
 2                     And the second thing I want to mention is
 3     that BDO has already produced its work papers to the
 4     trustee.     The Kluger firm served a Rule 2004 request
 5     back in     February of 2009 and I understand that BDO
 6     produced all its work papers in response to that 2004
 7     subpoena, so -- and I can assure Your Honor discovery
 8     of something we'd want in the arbitration as well.
 9                     THE COURT:      Okay.     All right.          Is this
10     binding arbitration?
11                     MR. CIMO:      Yes.
12                     THE COURT:      Okay.     So, it will have
13     collateral estoppel effect?
14                     MR. HUTTON:       Yes, Your Honor.
15                     MR. CIMO:      Yes, Judge.       We believe it
16     will.
17                     THE COURT:      Okay.     All right.          I'm going
18     to grant the motion to stay -- well, no.                  Let me back
19     up.    I'm going to grant the motion to compel
20     arbitration subject to the following:                If the
21     arbitrators determine that they do not want to
22     adjudicate these issues and merely the facts, okay,
23     then we will come back here at such time as the
24     arbitration is completed, continue with this
25     litigation, but with whatever collateral estoppel


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 1     effect the ruling of the arbitrators or wherever you
 2     litigate this, whatever impact those have.
 3                     And for the reasons, I don't want to
 4     repeat myself too much, but as I said, my reading of
 5     the Whiting-Turner versus Electric Machinery case in
 6     my view compels me to do as I've described earlier,
 7     which is in determining whether the matter is
 8     arbitrable, whether it's core or noncore, I have to
 9     look at the derivation of the causes of action rather
10     than the nature of the cause of action, because if the
11     -- as I said before, if the delineation is core versus
12     noncore, then Whiting-Turner just doesn't make sense.
13                     And so, because of that and because of
14     that causes of action that are alleged in the
15     complaint all derive from the allegations of negligent
16     or gross performance of the engagement letters, those
17     would be subject to arbitration under the terms of the
18     letter, and notwithstanding that while I do appreciate
19     Mr. Cimo's argument that this would -- that granting
20     this motion would inherently conflict with the
21     underlying purposes of the Bankruptcy Code, in this
22     particular instance, and I'm not saying that this
23     would apply in every case in which there's a
24     fraudulent conveyance action or every case in which
25     there is well, 544, 548, I'm just saying in this


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 1     particular case, the purposes of the Bankruptcy Code
 2     which are to achieve recovery by the trustee of assets
 3     that the trustee believes -- well, assets or the
 4     liquidation of claims that the trustee has the right
 5     to assert on behalf of creditors, that by granting the
 6     motion to arbitrate does not conflict with the
 7     underlying purposes of the Bankruptcy Code in this
 8     case, and I just want to make this very clear.                 I
 9     believe that this decision has to be made on a case by
10     case basis, not on a cause of action by cause of
11     action basis.
12                     And so, therefore, I am going to grant the
13     motion, but as I said before, I want to make very
14     clear that if the arbitrators decline to adjudicate
15     the issues rather than the facts relating to the
16     issues, we will come back here at the appropriate
17     time, and so I will grant a stay, not a dismissal, but
18     a stay of this litigation pending the conclusion of
19     the arbitration however it concludes.
20                     MR. CIMO:     Judge, there is no arbitration
21     yet.    There's a motion to compel in the State Court.
22     I just wanted to clarify that for you.
23                     THE COURT:      Right, so -- but I'm granting
24     the motion to compel in this case.              Now, we have do
25     have the issue of those two missing or one missing


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 1     engagement letter.        There is case law, which, of
 2     course, I cannot find right this second because I
 3     forgot to write it down, that says that even when
 4     there are nonarbitrable provisions, but they are
 5     entwined with the arbitrable provisions, that the
 6     Court can defer on those matters subject to
 7     resolution, and it appears to me that if the State
 8     Court grants the motion to compel and all of the
 9     allegations are being resolved by the arbitrators,
10     that it's appropriate to compel arbitration.
11                     On the other hand, if the State Court
12     determines that a portion of the complaint is not
13     going to be arbitrated, then my motion to stay -- my
14     granting of the motion to stay stands and we will wait
15     until the conclusion of the State Court proceedings
16     and again come back here at such time as is
17     appropriate to determine how the resolution of the
18     State Court action impacts the causes of action that
19     are here.
20                     So, Mr. Hutton, I'm going to ask you to
21     prepare the order and share your draft with Mr. Cimo.
22     It can be as simple, if you gentlemen wish, as for the
23     reasons stated on the record and then just put what
24     we're going to do and I think that should be fine.
25                     MR. HUTTON:      Thank you, Your Honor.          I


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 1     will do so.
 2                      MR. CIMO:       Thank you, Judge.
 3                      THE COURT:       All right.
 4                (Thereupon, the hearing was concluded.)
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 1                                 CERTIFICATION
 2
 3     STATE OF FLORIDA )
 4                           )
 5     COUNTY OF MIAMI-DADE)
 6
 7               I, Carmen E. De La Cruz, Shorthand Reporter
 8     and Notary Public in and for the State of Florida at
 9     Large, do hereby Certified that the foregoing
10     proceedings were taken before me at the date and place
11     as stated in the caption hereto on Page 1; that the
12     foregoing computer-aided transcription is a true
13     record of my stenographic notes taken at said
14     proceedings.
15
16
17                      WITNESS my hand this 20th day of October,
18     2010.
19
20
21                                  ___________________________
22                                  Carmen E. De La Cruz
23                                  Court Reporter and Notary Public
24                                  DD545111 Expiration Date 08/2011
25


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